Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 1 of 41 PageID #: 10523




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

                                          )
   RECKITT BENCKISER
                                          )
   PHARMACEUTICALS INC., RB
                                          )
   PHARMACEUTICALS LIMITED, and
                                          )
   MONOSOL RX, LLC,
                                          )
                          Plaintiffs,     )   C.A. No. 13-1674-RGA
                                          )   (Consolidated)
   v.                                     )
                                          )
   WATSON LABORATORIES, INC.,             )
                                          )
                          Defendant.      )

   RECKITT BENCKISER                      )     HIGHLY CONFIDENTIAL
   PHARMACEUTICALS INC., RB               )
   PHARMACEUTICALS LIMITED, and           )
   MONOSOL RX, LLC,                       )
                                          )
                                          )   C.A. No. 14-0422-RGA
                          Plaintiffs,
        v.                                )
                                          )
   PAR PHARMACEUTICAL, INC.,              )
   INTELGENX TECHNOLOGIES CORP.,          )
                                          )
                          Defendants.     )




    PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION IN
   LIMINE TO PRECLUDE PLAINTIFFS FROM RELYING ON REFERENCES DATED
             AFTER THE PRIORITY DATE OF THE ’514 PATENT
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 2 of 41 PageID #: 10524




          Defendants’ motion seeks to exclude, from a bench trial, reliable published literature:

  peer-reviewed journal articles, a master’s thesis, and a patent application. Dr. Robert Langer,

  Plaintiffs’ expert, will explain how these references reflect what skilled artisans understood

  about the state of the art at the time of the invention, including the critical problem of achieving

  drug content uniformity (“DCU”) in a pharmaceutical film, solved by the inventors of the ’514

  Patent. As Dr. Langer will explain, these references are consistent with his own experience in the

  field. This literature, written by scientists unaffiliated with the parties and before any litigation, is

  precisely the type of evidence experts in the “field would reasonably rely on … in forming an

  opinion on the subject.” Fed. R. Evid. 703.

          The literature Defendants seek to exclude is highly relevant and will assist the Court in

  assessing Defendants’ obviousness allegations. It is precisely because of their relevance that

  Defendants attempt to exclude the references, which undermine Defendants’ hindsight-driven

  and inaccurate assertions about the state of the art and purported obviousness. Defendants’

  motion is legally and factually meritless, and should be denied.

          First, Defendants concede the references cited by Dr. Langer are admissible if there are

  “good grounds on which to find the [information] reliable.” Mot. at 2 (alteration in original)

  (quoting In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 748 (3d Cir. 1994)). Of the seven

  references, five are academic articles published in peer-reviewed journals,1 one is a master’s

  thesis, and the last is a published patent application in the field of the invention. See Mot. Ex. 2,

  ¶¶ 112–44. Dr. Langer has testified to the reliability of the references. Defendants have offered


  1
    At a minimum, the “learned treatise” exception permits statements in peer-reviewed journals to
  be read into evidence when “relied on by the expert on direct examination,” and Dr. Langer’s
  testimony will establish each publication “as a reliable authority.” Fed. R. Evid. 803(18); see Ex.
  1 (Langer Dep. (Excerpts)) at 241:9–16, 254:10–21, 259:7, 263:6–8, 267:4–15.


                                                     1
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 3 of 41 PageID #: 10525




  nothing to suggest unreliability. The co-author of one of the articles is Dr. Jason McConville—

  one of Defendants’ own experts in this case. The author of the master’s thesis (Perumal)

  published a peer-reviewed article addressing the same subject matter of films and DCU. And,

  Defendants themselves rely on exactly the same types of references for their obviousness

  assertions. (See D.I. 328.) Experts in the field reasonably rely on the types of publications cited

  by Dr. Langer, and for this reason alone, Defendants’ motion should be denied.

         Second, Defendants’ argument that the references should be excluded because Dr. Langer

  does not know their authors is meritless. Rule 703 imposes no such requirement, and Defendants

  cite no support for one. Dr. Langer, like scientists everywhere, reasonably relied on his

  knowledge of the art and his assessment of it, not personal knowledge of the authors, in citing

  these references. See Ex. 1 at 240:24–242:14, 258:21–259:7, 265:3–268:12.

         Third, Defendants’ argument that an expert must “independently assess the reliability of

  the techniques described” in an article has no merit. The argument is misleading, as Dr. Langer

  cites the references because they show what skilled artisans understood about the state of the art;

  discuss failures of others to solve the problem of DCU; and show praise for the invention.

  Defendants also misstate the record in alleging Dr. Langer “did not attempt to assert that the

  analysis conducted [in the references] was of the type on which an expert in his field would

  rely,” Mot. at 1. As Dr. Langer stated in his expert report, “[a]ll of the materials and information

  I relied on are of a type reasonably relied on by people in my field.” Mot. Ex. 2, ¶ 7. In any

  event, it is revealing that none of the cases Defendants cite supports any independent-verification

  requirement for articles, theses, or patent applications; each involved reliance on unpublished

  analyses specifically prepared for litigation or outside the witness’s area of expertise. See In re

  TMI Litig., 193 F.3d 613, 714 (3d Cir. 1999) (reliance on reports of other experts); Muhsin v.



                                                   2
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 4 of 41 PageID #: 10526




  Pacific Cycle, Inc., No. 2010-060, 2012 WL 2062396, at *7 (D.V.I. June 8, 2012) (reliance on

  presumably unpublished analysis in area outside of witness’s expertise); Jung v. Neschis, No. 01

  Civ. 6993, 2007 WL 5256966, at *16 (S.D.N.Y. Oct. 23, 2007) (reliance on affidavits

  “specifically prepared for … litigation”). Indeed, Defendants’ own experts did not undertake the

  type of independent assessment they now assert is imperative.

         Fourth, Defendants wrongly charge that Dr. Langer is parroting “opinions” contained in

  this literature. As Dr. Langer explains, he knows from his own experience that DCU was a

  difficult problem in the early 2000s. See Ex. 1 at 137:8–138:9. The literature he cites

  corroborates this opinion and shows objective indicia of nonobviousness (e.g., praise).

         Finally, post-filing-date references “have long been allowed ‘as evidence of the state of

  the art existing on the filing date of an application.’” Disney Enterprises, Inc. v. Kappos, 923 F.

  Supp. 2d 788, 801 (E.D. Va. 2013) (citations omitted); cf. Gould v. Quigg, 822 F.2d 1074, 1078

  (Fed. Cir. 1987) (approving expert testimony based on “later dated publication … offered as

  evidence of the level of ordinary skill … at the time of the application”). The Federal Circuit has

  noted the relevance of evidence of non-obviousness arising after the date of invention. Sanofi-

  Aventis Deutschland GmbH v. Glenmark Pharm., Inc., 748 F.3d 1354, 1360 (Fed. Cir. 2014).

  Obviousness requires analyzing the art as a whole and what a POSA would have thought at the

  time of invention; the references relied on by Dr. Langer are relevant to answering this question.

         At bottom, if Defendants truly believe the references are unreliable, they have

  opportunity to cross-examine Dr. Langer at trial and argue about what weight the Court should

  give this evidence. But Defendants’ assertions do not go to admissibility. The literature Dr.

  Langer cites is exactly the type of information experts properly rely upon and will assist the

  Court in evaluating Defendants’ obviousness assertions. Defendants’ motion should be denied.



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Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 5 of 41 PageID #: 10527



  Dated: October 8, 2015
                                     Respectfully submitted,

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Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 6 of 41 PageID #: 10528




  EXHIBITS TO PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
      MOTION IN LIMINE TO PRECLUDE PLAINTIFFS FROM RELYING ON
    REFERENCES DATED AFTER THE PRIORITY DATE OF THE ‘514 PATENT


    EXHIBIT                                  DESCRIPTION
       1      Excerpts from the deposition transcript of Robert Langer taken June 4, 2015
              137:8–138:9,
              147:14–148:6,
              240:24-242:14,
              254:10–21,
              258:21-259:7,
              262:27–263:8,
              265:3-268:12
        2     Excerpts from the Rebuttal Expert Report of Robert Langer
              ¶ 7,
              ¶¶ 112–44
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 7 of 41 PageID #: 10529




                                Exhibit 1
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 8 of 41 PageID #: 10530


  1                   UNITED STATES DISTRICT COURT
  2                        DISTRICT OF DELAWARE
  3
  4     RECKITT BENCKISER                               )
  5     PHARMACEUTICALS, INC.,                          )
  6     et al,                                          )
  7                        Plaintiffs,                  )
  8     vs.                                             ) Civil Action
  9     WATSON LABORATORIES, INC.,                      ) No. 13-1674-RGA
 10     et al,                                          ) VOLUME I
 11                        Defendants.                  )
 12     ______________________________
 13
 14
 15            Videotaped Deposition of DR. ROBERT
 16            LANGER, taken at 50 Broadway, Cambridge,
 17            Massachusetts, commencing at 7:58 a.m.,
 18            Thursday, June 4, 2015, before Jeanette
 19            N. Maracas, Registered Professional
 20            Reporter and Notary Public.
 21
 22
 23
 24     JOB No. 2078739
 25     PAGES 1 - 270

                                                                     Page 1

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Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 9 of 41 PageID #: 10531

      1     said exactly. And then I would have to see 11:47:39                     1     thing I'm trying to say.                   11:50:23
      2     whether they talked about the locking in and 11:47:42                   2   Q. I think I would like to actually pull out       11:50:53
      3     other issues they're talking about here, but 11:47:43                   3     the original priority application. I believe 11:50:55
      4     I'm happy to look at anything you'd like me 11:47:46                    4     it was Langer Exhibit 2.                    11:51:01
      5     to of Dyar's.                       11:47:48                            5   A. Sure. I have it.                        11:51:03
      6   Q. Okay. Excellent. I want -- before we get to 11:47:54                   6   Q. If you could turn to -- we talked about this 11:51:17
      7     that, I want to do a couple more things --    11:47:57                  7     a little bit earlier, but if you could turn 11:51:24
      8   A. Of course.                          11:47:59                           8     to Page 2 of that reference, Paragraph 6.        11:51:27
      9   Q. -- within Claim 1 --                   11:47:59                        9     The last sentence of that paragraph says,         11:51:34
     10   A. Sure.                             11:48:01                            10     "currently, by law, dosage forms may not vary 11:51:37
     11   Q. -- of the '514 patent. The next element that 11:48:01                 11     more than ten percent in the amount of active 11:51:41
     12     we hadn't covered yet is "a taste masking      11:48:07                12     present when applied to dosage units based on 11:51:44
     13     agent coated or intimately associated with     11:48:09                13     films. This virtually mandates that            11:51:49
     14     said particulate to provide taste masking of 11:48:12                  14     uniformity in the film be present."            11:51:52
     15     the active."                       11:48:16                            15            And my question for you is, do you 11:51:59
     16            Generally, as I read through your    11:48:17                   16     agree that by September 27, 2002, as of the 11:52:02
     17     report, I didn't see anywhere where you        11:48:20                17     priority date, that being within plus or        11:52:07
     18     relied on taste masking to distinguish the    11:48:22                 18     minus ten percent of the active present would 11:52:11
     19     prior art. Do you view anything about what 11:48:25                    19     have been something that would be required in 11:52:18
     20     the patentees did here regarding taste       11:48:29                  20     a pharmaceutical product?                     11:52:20
     21     masking as inventive or novel?              11:48:31                   21   A. Well, I agree with the statement here, if        11:52:25
     22            MR. BOLLINGER: I'm going to object 11:48:34                     22     that's what you're asking.                  11:52:26
     23     to the form of that question.             11:48:35                     23   Q. Yes.                                 11:52:27
     24   A. Well, it's part of the claim. I mean, again, 11:48:37                 24   A. Yes, I would agree with that, but that's not 11:52:29
     25     we're getting -- maybe getting into legal     11:48:41                 25     standard deviation. That's variation, but I 11:52:32
                                                                        Page 134                                                            Page 136

      1    things. I mean, I think taste masking is an      11:48:43                1     agree with the statement.                  11:52:40
      2    important thing for lots of areas, and it      11:48:47                  2   Q. If a pharmaceutical formulator as of 2002         11:52:41
      3    adds one more parameter of complexity to           11:48:53              3     were pursuing a commercial product, that           11:52:46
      4    something that's already complex. So I'm not 11:48:57                    4     formulator would have had as a goal being          11:52:48
      5    sure the best way to answer it.              11:48:59                    5     within ten percent variation, correct?         11:52:51
      6 Q. You saw prior art references for -- you're        11:49:13               6   A. I would think that would be one of the           11:52:54
      7    aware prior to 2001 that there are numerous        11:49:24              7     goals, yes.                         11:52:56
      8    references suggesting that if a particular      11:49:30                 8   Q. Is it your opinion, Doctor, that prior to the 11:52:57
      9    active agent is bitter or unpleasant, that a    11:49:36                 9     disclosure that led to the '514 patent,       11:53:46
     10    taste masking agent should be used?             11:49:39                10     persons of ordinary skill in the art were       11:53:51
     11 A. I mean, certainly that's one thing that can      11:49:43               11     unable to make pharmaceutical film dosage           11:53:54
     12    be done, sure. I mean, there's lots of         11:49:51                 12     forms with plus or minus ten percent content 11:54:00
     13    things that can be done. So I'm not sure        11:49:53                13     uniformity?                           11:54:04
     14    what the question is. I've certainly seen       11:49:56                14   A. That's my understanding from what I've read. 11:54:07
     15    references that that's one way to deal with      11:49:58               15   Q. I guess my question is a little broader than 11:54:20
     16    the problem.                         11:50:00                           16     what you've read. You were very experienced 11:54:23
     17 Q. And that was -- that was a well-known way of            11:50:01        17     in the art as of 2001. You talked to all the 11:54:25
     18    dealing with bitterness prior to 2001,         11:50:02                 18     pharmaceutical companies out there. You            11:54:29
     19    correct?                           11:50:04                             19     probably had extensive experience with what 11:54:30
     20 A. Yes, but then when you -- like I say, the         11:50:04              20     their actual capabilities were. Based on the 11:54:33
     21    point that I'm trying to make is take any one 11:50:08                  21     people you know, based on the technology that 11:54:36
     22    thing in isolation and that's well-known.        11:50:10               22     you've seen in the art at that time, is it   11:54:40
     23    Put ten things together, each of which has       11:50:14               23     your opinion that if the formulators at        11:54:42
     24    their own degrees of complexity, and it's not 11:50:16                  24     Pfizer or Merck had decided they wanted to 11:54:45
     25    nearly as simple a problem. That's the only       11:50:20              25     make a film with content uniformity, they         11:54:51
                                                                        Page 135                                                            Page 137

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Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 10 of 41 PageID #: 10532

       1     would have been unable to do so?               11:54:53        1    like that, and I don't know if this -- if      11:58:13
       2   A. I think the answer is they were unable to do 11:54:54         2    they're related in some way to that or not.          11:58:16
       3     so. I don't know of anybody that did it. I 11:54:57            3    I assume that they must be, but you all             11:58:18
       4     mean, let me put it that way. And I think, 11:55:00            4    probably know the histories much better than            11:58:21
       5     as I mentioned, even in 2008 in peer-reviewed 11:55:08         5    I do.                              11:58:23
       6     articles, people continued to say, "this is a 11:55:14         6 Q. In your -- in the course of your work in this 11:58:23
       7     difficult thing to do, very difficult thing 11:55:16           7    case, have you ever spoken to any individuals 11:58:29
       8     to do." I can -- well, I'm sure we will go 11:55:20            8    at MonoSol?                               11:58:36
       9     over that later.                      11:55:25                 9 A. Not to my knowledge and not intentionally for 11:58:39
      10   Q. Doctor, what is taste masking?               11:55:35        10    this case, but, I mean, I think the answer is 11:58:46
      11   A. Well, the way I think of taste masking is you 11:55:38       11    almost certainly no, but I -- again, you            11:58:48
      12     have something and you don't like the taste 11:55:44          12    know, like I say, I give lectures in front of 11:58:51
      13     of it, so you add something in to the         11:55:47        13    thousands of people sometimes and people come 11:58:54
      14     formulation or food or whatever it is that      11:55:52      14    up and whatever.                            11:58:57
      15     when you taste it or swallow it, you get a      11:55:57      15 Q. And in the course of carrying out your work             11:58:58
      16     different taste, you kind of mask the taste 11:56:01          16    in this case, did you have any conversations           11:59:00
      17     of the original entity. Let's say it's very 11:56:04          17    or meetings with any individuals from Reckitt 11:59:02
      18     bitter, you know. I put something in so it's 11:56:08         18    Benckiser?                               11:59:10
      19     less bitter.                        11:56:13                  19 A. Same answer.                                11:59:11
      20   Q. A spoonful of sugar helps the medicine go         11:56:14   20 Q. And have you done consulting work for                   11:59:12
      21     down?                                11:56:20                 21    MonoSol?                                  11:59:15
      22   A. That's an example.                       11:56:20            22 A. No, I mean, other than this.                   11:59:18
      23   Q. I'd like to go through --                11:56:33            23 Q. Other than this litigation, have you done             11:59:20
      24   A. Should I put this away again or not?           11:56:35      24    consulting work for Reckitt Benckiser?               11:59:22
      25   Q. You can put that away again.                 11:56:37        25 A. No. Those names don't -- well, I'd say no.             11:59:26
                                                               Page 138                                                                         Page 140

       1   A. Okay.                               11:56:39                  1    I don't -- like I say, I don't know if         11:59:29
       2   Q. Doctor, prior to your involvement in this       11:57:00      2    there's prior histories of companies that           11:59:31
       3     case, were you familiar with any of the        11:57:03        3    they merged or whatever, but not to my                11:59:32
       4     inventors of the '514 patent?              11:57:10            4    knowledge to either of those.                  11:59:36
       5   A. I believe I know -- well, I -- let me put it 11:57:18         5 Q. And about when were you first approached to               11:59:37
       6     this way: "Familiar" meaning I know them          11:57:21     6    work on this case?                          11:59:40
       7     personally or heard of them?                11:57:23           7 A. I don't remember exactly. I think it was             11:59:44
       8   Q. Yes, yes, let's start with know them          11:57:25        8    earlier this year, early this year. It could 11:59:46
       9     personally.                          11:57:27                  9    have been late last year, but late last year        11:59:49
      10   A. I don't believe I've met any of them          11:57:28       10    or early this year.                       11:59:52
      11     personally.                          11:57:30                 11 Q. Okay. Do you recall generally about how many 11:59:53
      12   Q. Are there any of them that you're            11:57:30        12    hours that you've worked on this case?               11:59:55
      13     reputationally aware of?                  11:57:32            13 A. I've worked on it hard. I don't know the             11:59:58
      14   A. I'm pretty sure Fuisz, you know, I mean, I      11:57:34     14    number of hours. We could certainly find               12:00:00
      15     know that name. I know that name, Fuisz. So 11:57:39          15    out, but I -- you know, I spent a lot of time 12:00:03
      16     I don't recall necessarily meeting either of 11:57:43         16    on it. I mean, I -- it's a significant        12:00:05
      17     them, but I could have, you know. I end up 11:57:47           17    report.                             12:00:09
      18     giving a lot of lectures and a lot of       11:57:50          18 Q. If we can turn to Page 11 of the report.             12:00:09
      19     courses, and so sometimes people come up to 11:57:53          19 A. 11?                                 12:00:21
      20     me and I could have met people. I don't want 11:57:54         20 Q. Yes.                                 12:00:22
      21     to exclude that. But the name Fuisz           11:57:59        21 A. Okay.                                    12:00:23
      22     certainly meant something to me.              11:58:02        22 Q. And there's a discussion there from the '514           12:00:29
      23           There was a company, and I don't        11:58:05        23    patent. Actually, let's go to the patent        12:00:32
      24     know the whole histories of these. It was       11:58:06      24    itself at Column 2, Lines 7 to 26.              12:00:34
      25     called Fuisz Technology, I recall, something 11:58:09         25 A. Sure.                                12:00:39
                                                               Page 139                                                                           Page 141

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Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 11 of 41 PageID #: 10533

       1    of films described in Column 2, Line 16 and           12:07:47              1     answering the question that you want, but if 12:11:12
       2    concluded that they suffered from the              12:07:55                 2     it's a multi-layered film, it inherently      12:11:13
       3    aggregation or conglomeration of particles?          12:07:58               3     isn't uniform, right? I mean...             12:11:18
       4          MR. BOLLINGER: Column 2, Line 16 of 12:08:06                          4   Q. Well, drug content uniformity deals with          12:11:20
       5    which patent?                            12:08:08                           5     dose-to-dose variation, correct?              12:11:22
       6          MR. BROWN: Of the '514.                     12:08:10                  6   A. Well, I see what you're saying, but, I mean, 12:11:25
       7 A. I mean, I don't know who specifically, no.            12:08:21              7     this is -- yeah, so if you look at it like   12:11:27
       8 Q. You don't have personal knowledge of this              12:08:34             8     that. But I'm just saying if you look at it 12:11:29
       9    experimental work that's reported in the '514 12:08:36                      9     as a whole, there's a portion that has no       12:11:31
      10    patent at Column 2, Lines 16 through 26,             12:08:39              10     drug. That's all I was trying to say.         12:11:33
      11    correct?                               12:08:44                            11   Q. Let me just see if I can frame it            12:11:36
      12 A. Not specifically, other than, like you say,         12:08:44               12     differently -- my question a little          12:11:38
      13    it's totally consistent with Perumal, Morales 12:08:47                     13     differently.                          12:11:41
      14    and all the other things, but in terms of         12:08:51                 14   A. Sure.                               12:11:41
      15    this specific one, no, but it's very         12:08:53                      15   Q. The criticisms the '514 patentees make of the 12:11:41
      16    consistent with what everything, you know,            12:08:55             16     Schmidt reference is that it's a multi-step 12:11:44
      17    even 2008 and beyond, said. And, like I say, 12:08:57                      17     process, it adds expense and complexity and 12:11:47
      18    I probably should go back and check whether            12:09:03            18     is not practical for commercial use, correct? 12:11:48
      19    any of those talked about that specifically,        12:09:05               19            MR. BOLLINGER: Objection to form. 12:11:52
      20    as well, but I -- as I mentioned earlier.         12:09:06                 20   A. Well, those are some of the things they say. 12:11:55
      21 Q. And then further down in Column 2, Line 47,             12:09:09           21     I mean, you know, that's what they're saying 12:11:58
      22    it says, "the problems of self-aggregation          12:09:19               22     there, I mean, but I don't think there's       12:11:58
      23    leading to non-uniformity of a film were            12:09:22               23     anything in Schmidt that talks about            12:12:01
      24    addressed in U.S. Patent No. 4,849,246 to            12:09:25              24     controlling viscosity, as an example, or         12:12:06
      25    Schmidt. Schmidt specifically pointed out            12:09:30              25     controlling drying. I mean, they've tried to 12:12:09
                                                                         Page 146                                                               Page 148

       1 that the methods disclosed by Fuchs did not 12:09:34          1   solve the problem in a very different way by 12:12:12
       2 provide a uniform film and recognized that          12:09:37  2   using a backing layer, so to speak. I'm not 12:12:13
       3 the creation of a non-uniform film              12:09:39      3   disagreeing with what you read. I'm just        12:12:22
       4 necessarily prevents accurate dosing, which, 12:09:42         4   adding to it.                        12:12:24
       5 as discussed above, is especially important 12:09:47          5 Q. Continuing on down in Column 2 of the '514         12:13:01
       6 in the pharmaceutical area."                  12:09:48        6   patent, it states, "other U.S. patents      12:13:06
       7        It then says, "Schmidt abandoned the 12:09:54          7   directly address the problems of particle      12:13:09
       8 idea that a monolayer film, such as described 12:09:56        8   self-aggregation and non-uniformity inherent 12:13:11
       9 by Fuchs, may provide an accurate dosage form 12:09:59 9 in conventional film-forming techniques."                 12:13:15
      10 and, instead, attempted to solve this problem 12:10:01 10                And is it your understanding that     12:13:21
      11 by forming a multi-layered film. Moreover, 12:10:03 11 that sentence refers to both Horstmann and 12:13:21
      12 his process is a multi-step process that adds 12:10:08       12   Zerbe?                              12:13:25
      13 expense and complexity and is not practical 12:10:11 13 A. I look at it that way, yes.                      12:13:30
      14 for commercial use."                        12:10:14         14 Q. And in the second part of this -- well, let 12:13:32
      15        And my question here for you is, the 12:10:21         15   me -- let's just go through the whole next     12:13:46
      16 '514 patentees never report that the Schmidt 12:10:25 16 sentence. It says, "in one attempt to                 12:13:51
      17 process failed to achieve content uniformity, 12:10:30 17 overcome non-uniformity, U.S. Patent No.                  12:13:54
      18 is that correct?                       12:10:34              18   5,629,003 to Horstmann, et al., and U.S.        12:14:01
      19 A. So you're saying, did they talk about it       12:10:39   19   Patent No. 5,948,430 to Zerbe, et al.,        12:14:03
      20 beyond this?                             12:10:45            20   incorporated additional ingredients,          12:14:09
      21 Q. Yes.                               12:10:46               21   i.e., gel formers and polyhydric alcohols      12:14:13
      22 A. I don't -- well, I mean, I think that       12:10:47      22   respectively, to increase the viscosity of    12:14:17
      23 they're -- so you're talking about -- I mean, 12:11:01       23   the film prior to drying in an effort to     12:14:19
      24 in a way -- how do I say this? So this is a 12:11:02         24   reduce aggregation of the components in the 12:14:22
      25 multi-layered film. Again, I may not be           12:11:08   25   film."                             12:14:27
                                                                            Page 147                                                            Page 149

                                                                                                                             38 (Pages 146 - 149)
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                                                                       866 299-5127
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 12 of 41 PageID #: 10534

       1     and tested for the amount of active in        03:36:04                 1     Perumal thesis references I discussed above 03:51:29
       2     films of particular size."              03:36:07                       2     clearly support the conclusions that a high 03:51:29
       3           Is that a chemical analysis as you 03:36:12                      3     degree of variability seen in the results     03:51:33
       4     would describe it?                     03:36:15                        4     for dissolution testing of oral thin films    03:51:37
       5   A. It can be. It depends what's done, but if     03:36:16                5     produced via conventional methods is            03:51:40
       6     you have measurements of that molecule, then 03:36:20                  6     primarily due to a high degree of variability 03:51:42
       7     I'd say yes.                       03:36:25                            7     associated with the drug content of said       03:51:46
       8   Q. And that chemical testing that they're        03:36:27                8     films." Now, I want to go back to Paragraphs 03:52:05
       9     describing in column 34 -- let me restate      03:36:31                9     121 through 124 of your report.              03:52:15
      10     the question.                        03:36:38                         10   A. 121 through 124, okay.                    03:52:22
      11           This patent doesn't report any       03:36:38                   11   Q. Yes.                               03:52:29
      12     data from the chemical analysis method that 03:36:40                  12   A. Okay.                               03:52:30
      13     they describe at column 42, line 34 through 03:36:46                  13   Q. So in Paragraph 121 -- sorry.               03:52:31
      14     38, correct?                        03:36:51                          14   A. It's fine.                         03:53:33
      15   A. Well, yes and no. Like the example I gave        03:36:52            15   Q. Let me start with a few background questions. 03:53:47
      16     you earlier, it does with the dye. I would 03:36:55                   16     The Perumal thesis is identified -- I believe 03:53:52
      17     consider that a chemical analysis.          03:36:58                  17     her name is Velisha Ann Perumal. Is this a 03:53:58
      18   Q. They don't report any chemical analysis         03:37:04             18     person you're familiar with?               03:54:03
      19     data from any dosage form containing a          03:37:06              19   A. Not personally, no.                     03:54:04
      20     particulate active ingredient, correct?      03:37:10                 20   Q. Do you have any opinion as to Valisha           03:54:06
      21   A. I'd have to check on that. I'd have to       03:37:12                21     Perumal's professional reputation?            03:54:16
      22     check on that to be sure.                03:37:16                     22   A. Only that she's published things in reviewed 03:54:20
      23   Q. You don't recall any from your review of        03:37:23             23     journals.                           03:54:26
      24     the patent right now, correct?             03:37:26                   24   Q. Do you know any of the other authors of          03:54:26
      25   A. Again, it's something I would need to check. 03:37:28                25     Exhibit Langer 11, the first Perumal          03:54:29
                                                                        Page 238                                                          Page 240

       1     I'm not sure.                     03:37:32                             1     publication?                        03:54:35
       2           MR. BROWN: Let's take a break and          03:37:34              2   A. Again, I don't believe I know any of them        03:54:35
       3     we'll come back for the final.             03:37:36                    3     personally, though I would qualify them as I 03:54:35
       4           VIDEOGRAPHER: The time is 3:38. We 03:37:38                      4     said before, that people probably met me at 03:54:40
       5     are now off the record.                03:37:40                        5     conferences just like I mentioned the others, 03:54:44
       6           (Break taken)                 03:37:44                           6     but none of those names ring any bells.        03:54:47
       7           VIDEOGRAPHER: The time is 3:49. We 03:49:27                      7   Q. Are you familiar with the University of         03:54:49
       8     are now back on the record.                03:49:38                    8     KwaZulu-Natal in Durban, South Africa?            03:54:51
       9           MR. BROWN: Can we mark what I think 03:49:41                     9   A. I mean, I'm sure I probably heard of it at     03:54:57
      10     are 11 and 12.                     03:49:42                           10     some point. Let me put it this way. I'm        03:54:59
      11           (Exhibit 11 and Exhibit 12 marked        03:49:46               11     certainly familiar with the journal of Drug 03:55:01
      12     for identification.)                03:50:13                          12     Development and Industrial Pharmacy. That's 03:55:04
      13 Q. I marked Exhibits Langer 11 and Langer 12.             03:50:13        13     a peer-reviewed journal, but I don't know       03:55:06
      14     Do you recognize Langer 11 as the first        03:50:18               14     the university very well, let me put it that 03:55:08
      15     Perumal reference you discussed in your         03:50:25              15     way, or the people very well, but I do know 03:55:11
      16     expert report?                     03:50:27                           16     of the journal.                     03:55:14
      17 A. Yes.                              03:50:28                             17   Q. And the Perumal thesis was submitted in          03:55:16
      18 Q. And do you recognize Langer Exhibit 12 as             03:50:29         18     January 2007, correct?                    03:55:22
      19     the Perumal thesis?                   03:50:35                        19   A. Correct.                           03:55:24
      20 A. Yes, I do.                          03:50:41                           20   Q. And it says on the face of it, "submitted      03:55:24
      21 Q. So in Paragraph 164 --                     03:50:41                    21     in part fulfillment of the requirements for 03:55:28
      22 A. We're on my report?                        03:51:14                    22     the degree of Master of Medical Science,         03:55:30
      23 Q. In your report, yes. Page 90, Paragraph 164, 03:51:15                  23     Pharmaceutical Sciences." Am I correct that 03:55:36
      24     you state, "the results obtained by Perumal,    03:51:22              24     under your definition of a person of ordinary 03:55:42
      25     et al, described in the Perumal 2008 and       03:51:26               25     skill in the art, Ms. Perumal would not        03:55:46
                                                                        Page 239                                                          Page 241

                                                                                                                        61 (Pages 238 - 241)
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Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 13 of 41 PageID #: 10535

       1     qualify at the time of the thesis because       03:55:49        1   Q. The X axis in figure three from Perumal is 03:59:09
       2     she would not have a Master's degree, plus         03:55:51     2     time and hours, correct?                   03:59:14
       3     two years of experience?                    03:55:54            3   A. Mm-hmm.                                 03:59:15
       4   A. She'd probably be less than that. That's        03:55:56       4   Q. And the X axis in figure five from Chen is         03:59:15
       5     probably true, but that doesn't disqualify      03:55:59        5     time and minutes, correct?                  03:59:21
       6     her in any means from doing thorough              03:56:03      6   A. Yes.                               03:59:23
       7     literature reviews and doing experiments.         03:56:06      7   Q. And so the entirety of the chart in figure      03:59:26
       8     And I don't see her -- I don't know whether 03:56:08            8     five, if it were superimposed on to figure       03:59:34
       9     she's filed patents or not.               03:56:11              9     three of Perumal, would be the first little 03:59:36
      10            Like I say, I'd like to say it     03:56:16             10     slice that we see, the first one-sixth of     03:59:41
      11     this way. I have very good students at my         03:56:18     11     the time between zero and one hours, correct? 03:59:44
      12     lab at MIT and they wouldn't qualify under         03:56:21    12   A. If that's the way you want to look at it,      03:59:50
      13     my definition either, but I think anybody        03:56:22      13     that's fair.                       03:59:52
      14     would want to hire them and do.                03:56:25        14   Q. Am I correct that the drug in the drug dosage 03:59:57
      15   Q. So let's go to the graphs that you reproduced 03:56:45        15     forms in Perumal were not prepared by any           04:00:00
      16     from Perumal on Pages 92 and 94 of your             03:56:52   16     method described in the '514 patent?            04:00:09
      17     expert report.                        03:57:02                 17   A. Correct.                            04:00:15
      18   A. Okay.                                03:57:03                 18   Q. And if we look --                        04:00:15
      19   Q. Let's start with figure three.             03:57:17           19   A. Actually, let me just go through before I        04:00:27
      20   A. Okay.                                03:57:19                 20     give you -- let me just take a look.         04:00:31
      21   Q. As reported in your expert report, figure        03:57:20     21     (Witness examines document).                   04:00:40
      22     three is titled "drug release profiles of     03:57:25         22            Let me try to put it this way. To 04:01:03
      23     films prepared from the silicon-molded tray 03:57:28           23     the extent that Dyar tries to claim that      04:01:06
      24     for reproducibility studies."              03:57:31            24     some of the other things, other papers for       04:01:08
      25   A. Correct.                             03:57:34                 25     which they didn't give very much detail on         04:01:10
                                                                Page 242                                                              Page 244

       1   Q. And, in your opinion, this dissolution         03:57:35     1        certain things could have been the same as        04:01:12
       2     chart shows that Perumal obtained good drug 03:57:41 2                the '514, that may be also said here, too.     04:01:14
       3     content uniformity, correct?                03:57:47         3        I don't personally think of it that way       04:01:18
       4   A. No. I think what I was trying to say --        03:57:49     4        because, which is why I answered that            04:01:20
       5     where are you reading that from?              03:57:53       5        question the way I did initially, but I      04:01:22
       6   Q. That is -- well, you state that, "as is     03:57:55        6        don't think that they've measured -- my         04:01:26
       7     clearly evident from this figure" --         03:58:08        7        sense here is that they're not measuring       04:01:27
       8   A. Can you just tell me where you are?             03:58:10    8        viscosity, and the same thing with drying.       04:01:29
       9   Q. Sorry. Paragraph 165 on Page 91, "figure          03:58:11 9         So you don't get the sense here just like      04:01:32
      10     three from Perumal Exhibit P as shown below 03:58:14 10               you don't get the sense in Chen or any of       04:01:35
      11     as is clearly evident from this figure as     03:58:19      11        the others that they're controlling the       04:01:38
      12     compared to Chen figure five, the error         03:58:21    12        parameters that they do in the '514, but       04:01:40
      13     bars associated with the data for trays A,      03:58:24    13        I guess what I'd say is it's certainly      04:01:43
      14     B and C are much tighter than those shown          03:58:27 14        possible that certain of those things could 04:01:45
      15     for the films in Chen figure five."          03:58:29       15        have been done.                         04:01:46
      16   A. Yes.                               03:58:32                16      Q. Let's look at table six.                04:01:48
      17   Q. What's the relevance of that?               03:58:32       17      A. Where are you now?                         04:01:51
      18   A. Well, it's just that if something is -- it  03:58:34       18      Q. Table six on Page 94 of your expert report. 04:01:53
      19     goes to what we said before. If you got         03:58:39    19      A. Oh, okay.                             04:01:58
      20     reproducible release kinetics, to me that      03:58:41     20      Q. And what is -- let me restate the question. 04:01:59
      21     supports the conclusion that you probably         03:58:45 21                In the left-hand column there are     04:02:16
      22     have a more reproducible system, most likely 03:58:47 22              four dosage forms prepared that have large        04:02:19
      23     that's due to a drug content uniformity.       03:58:50     23        error bars, correct?                    04:02:30
      24     That's what they were trying to achieve         03:58:57    24      A. Well, they have -- I mean, again, everything 04:02:32
      25     here.                              03:58:59                 25        is relative. Certainly those error bars      04:02:35
                                                                Page 243                                                              Page 245

                                                                                                                  62 (Pages 242 - 245)
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Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 14 of 41 PageID #: 10536

       1 date -- "no paper to date, to the best         04:14:20         1     that said, boy, this is simple, everybody's 04:16:45
       2 of our knowledge, in the published               04:14:23       2     done it, and I didn't see any patent that    04:16:47
       3 pharmaceutical literature has highlighted          04:14:25     3     said it either, and I don't think Dyar ever 04:16:50
       4 this difficulty." So is it your opinion        04:14:28         4     found anything close to that. If I saw        04:16:52
       5 that the reason none of these 20-plus            04:14:31       5     that, that might change my opinion, but I        04:16:58
       6 published papers on film characterization          04:14:34     6     didn't and we looked.                    04:17:00
       7 studies reported any problem with drug             04:14:37     7   Q. Within the Perumal reference and going to          04:17:06
       8 content uniformity is because they were            04:14:40     8     Page 1038, there is a discussion in the        04:17:10
       9 just hiding negative data?                  04:14:43            9     second column about halfway down, maybe               04:17:27
      10 A. No, I'm not saying that. I really can't       04:14:45      10     nine or ten lines down, there's a sentence      04:17:34
      11 speak to the -- I mean, I tried to answer        04:14:48      11     that says, "some approaches that attempted         04:17:37
      12 your last question as best I could. I think 04:14:50           12     to prevent agglomeration are briefly          04:17:39
      13 that the assumption they make is a reasonable 04:14:53         13     described." Do you see that?                04:17:41
      14 assumption, but I can't say for sure. I         04:14:56       14   A. Yes.                               04:17:42
      15 haven't done an analysis myself like they've 04:14:59          15   Q. And there's a discussion of the Schmidt          04:17:42
      16 done so I'm taking them at their word and           04:15:03   16     reference, and just if you would read         04:17:46
      17 I'm taking the reviewers at their word           04:15:05      17     starting with Schmidt all the way forward         04:17:55
      18 because this does go through peer review            04:15:09   18     to the top of the next column.             04:18:04
      19 unlike in a way different than say a patent 04:15:11           19   A. You want me to read it out loud?              04:18:07
      20 or other things. This is definitely a         04:15:13         20   Q. No, just to yourself.                   04:18:09
      21 peer-reviewed journal.                      04:15:17           21   A. (Witness examines document)                    04:18:11
      22 Q. Isn't this at least an equally plausible     04:15:18       22   Q. Then in there's a citation at the end, U.S. 04:18:30
      23 possibility for the reason that there was        04:15:21      23     patent number --                       04:18:35
      24 no published pharmaceutical literature            04:15:23     24   A. Right.                             04:18:36
      25 highlighting the difficulty is because the        04:15:25     25   Q. Do you recognize all of the text that you        04:18:36
                                                             Page 254                                                             Page 256

       1 Perumal authors were having difficulties        04:15:30        1 just read as being taken directly from          04:18:40
       2 that no other folks in the scientific       04:15:33            2 the specification of the '514 patent?          04:18:42
       3 literature were having?                  04:15:38               3 A. It's certainly similar. I'd have to check    04:18:50
       4 A. No, I don't agree with that because you       04:15:39       4 it word for word, and I'm happy to take your 04:18:52
       5 can go and take a look at other papers like 04:15:41            5 word for it that it's similar. They're        04:18:55
       6 Morales and others, and they make similar         04:15:43      6 referring to it also. They're referring to 04:18:57
       7 points. So I would say that that's, you       04:15:46          7 the '741.                             04:19:03
       8 know, there's a number of papers and patents 04:15:48           8 Q. Correct. And then in the following sentence 04:19:03
       9 that I cited after the fact that came well   04:15:49           9 Perumal says, "approaches described in U.S. 04:19:06
      10 after 2001. If you want, I can pull out       04:15:53         10 patent No. 60/443,741 for enhancing drug            04:19:09
      11 Morales and some of the comments that they         04:15:56    11 uniformity required sophisticated drying          04:19:15
      12 make, but I think what you want to do is        04:15:58       12 equipment and additional pharamecutical             04:19:18
      13 read these in light of together collectively, 04:16:02         13 excipients which led to unfeasible increased 04:19:20
      14 and when you do, I think there's something        04:16:06     14 manufacturing costs and multi-step               04:19:22
      15 like seven or eight papers that discuss       04:16:08         15 processing."                            04:19:25
      16 that it is a problem and none that discusses 04:16:10          16          So Perumal did not view the teaching 04:19:28
      17 that it's an easily solved problem, so I     04:16:14          17 of the '514 patent as a solution to the drug 04:19:31
      18 think that's how you have to take it         04:16:17          18 content uniformity difficulties that had         04:19:37
      19 scientifically.                      04:16:19                  19 been, that she posits existed, correct?        04:19:41
      20        We can get Morales, if you want,       04:16:22         20 A. Well, I mean, I don't know that I would         04:19:45
      21 I'll go over some of that, but you certainly 04:16:25          21 agree with that. They're just simply saying 04:19:49
      22 get the impression from all the reviews        04:16:27        22 that it's not perfect, they're saying other 04:19:52
      23 and all the patents that this statement is   04:16:29          23 things that need to be done.                 04:19:54
      24 reasonable. You can't isolate those, take      04:16:33        24          By the way, Schmidt, just to go       04:19:57
      25 away those papers. I didn't see any paper       04:16:38       25 over a point that you raised also, if we go 04:19:59
                                                             Page 255                                                             Page 257

                                                                                                               65 (Pages 254 - 257)
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Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 15 of 41 PageID #: 10537

       1     over it I recall said that this is an        04:20:01             1 multi-layered films to overcome the            04:24:47
       2     unsolved problem, that people have been              04:20:04     2 heterogeneity of the mono-layered form,"          04:24:49
       3     trying to do for many years in addition to         04:20:07       3 and then it continues, "however, Yang, et        04:24:54
       4     the ones in the future. After 2001 there          04:20:09        4 al., reported that using the protocol        04:24:56
       5     were ones like Schmidt that -- and I could          04:20:12      5 proposed by Schmidt did not render uniform 04:24:59
       6     get that quote for you, if it's helpful,       04:20:14           6 films and went on to say that to overcome        04:25:03
       7     that said this is a big problem.              04:20:17            7 the non-uniformity of films, a manufacturing 04:25:07
       8           Would it be helpful if I read           04:21:32            8 process for orally disintegrating films       04:25:09
       9     the exact quote from Schmidt, or do you not 04:21:34              9 could be easily adapted for the manufacture 04:25:12
      10     want you to do that?                       04:21:36              10 of mucoadhesive buccal films." And Yang,           04:25:16
      11   Q. I don't need you to do that right now.           04:21:37       11 et al., is, I think, footnoted as reference 04:25:24
      12   A. Okay.                                04:21:41                   12 73, and just have a look at that. But you      04:25:29
      13   Q. Let's go to Morales.                       04:21:42             13 recognize that statement as being attributed 04:25:35
      14   A. Sure. Also I just wanted to get a time            04:21:46      14 to the inventors of the '514 patent?         04:25:38
      15     check, if we could.                       04:21:49               15 A. Which statement now?                     04:25:41
      16           VIDEOGRAPHER: Six hours,                      04:21:49     16 Q. The statement where it says, "Yang, et al, 04:25:42
      17     40 minutes.                            04:21:51                  17 reported that using the protocol proposed       04:25:45
      18   A. Okay.                                04:21:56                   18 by Schmidt did not render uniform films          04:25:48
      19           (Exhibit 13 marked for                 04:21:57            19 and went on to say that to overcome the         04:25:51
      20     identification.)                       04:22:34                  20 non-uniformity of the film, the manufacturing 04:25:56
      21   Q. So Morales is Exhibit Langer 13. Are you             04:22:34   21 process for orally disintegrating films       04:25:56
      22     familiar with either Javier Morales or Jason 04:22:53            22 could be easily adapted for the manufacture 04:25:59
      23     McConville?                              04:22:57                23 of mucoadhesive buccal films."                04:26:01
      24   A. You know, I'm not sure. I've lectured at           04:22:58     24 A. I think they said it differently, if I   04:26:04
      25     the University of Texas at Austin so I may          04:23:05     25 recall. Maybe I'll try to get that for you, 04:26:06
                                                                 Page 258                                                              Page 260

       1     have met them, but, again, I'd have to         04:23:08        1      if you want. My recollection was that they 04:26:08
       2     give you the same answer that I've given         04:23:09      2      said it was -- it wasn't, that it couldn't    04:26:10
       3     before, that they're certainly not names       04:23:11        3      be done, but that it was more complex. Why 04:26:14
       4     that ring any bells for me.              04:23:16              4      don't I try to find that just to --        04:26:16
       5   Q. You're not personally familiar with their       04:23:18      5    Q. I don't have that question. I only have a        04:26:19
       6     professional reputation?                  04:23:21             6      few minutes left. So my question is, the          04:26:21
       7   A. No. Again, this a review journal also.         04:23:23       7      entire sentence that I just read is          04:26:24
       8   Q. So let's turn to Page 191.                04:23:46            8      attributed to the inventors of the '514        04:26:27
       9   A. Okay.                              04:24:04                   9      patent, correct, that's footnote --         04:26:33
      10   Q. And there is a sentence in the first full     04:24:05       10    A. It's attributed, but I'm saying that may        04:26:35
      11     paragraph that I believe you rely on. It      04:24:11        11      not be exactly correct. That's all.          04:26:38
      12     states, "since the early development of        04:24:14       12    Q. This sentence does not reflect any             04:26:39
      13     medicated films, content uniformity has been 04:24:15 13              independent evaluation by the authors of           04:26:45
      14     a major challenge for the pharmaceutical         04:24:19     14      this publication, is that correct?           04:26:48
      15     scientist."                        04:24:21                   15    A. That single sentence?                      04:26:50
      16   A. Mm-hmm.                                04:24:21              16    Q. Yes.                                04:26:52
      17   Q. And the first -- the next sentence says,       04:24:23      17    A. I can't say. I mean, I don't know. I          04:26:56
      18     "Schmidt proposed one of the earliest           04:24:27      18      don't know what they did or not, and I           04:27:01
      19     approaches to increase the drug uniformity        04:24:29 19         don't know, you know, the way they wrote             04:27:06
      20     of medicated films by stating that the        04:24:32        20      it, I certainly can see what you're saying, 04:27:07
      21     non-uniformity of the films is inherent to      04:24:35      21      but I can't say that for sure from reading      04:27:09
      22     their mono-layered nature."                 04:24:38          22      this. They certainly could have done it          04:27:12
      23   A. Right.                             04:24:42                  23      or they may not have done it.                 04:27:14
      24   Q. And the next sentence, "Schmidt proposed a          04:24:43 24    Q. I guess I have the same question for the          04:27:16
      25     multi-step method for the manufacture of          04:24:44 25         entire remainder of this paragraph. Do you 04:27:17
                                                                 Page 259                                                              Page 261

                                                                                                                   66 (Pages 258 - 261)
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                                                               866 299-5127
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 16 of 41 PageID #: 10538

       1 have any view as to whether this reflects        04:27:25           1     review article to state something like that,    04:29:54
       2 any independent analysis by the Morales            04:27:28         2     and they did not. They just simply said         04:29:56
       3 authors or are they just reporting what's      04:27:34             3     Yang says he did this.                     04:29:59
       4 stated by the '514 patent inventors?          04:27:38              4          So I think when I read something          04:30:12
       5 A. Well, see, I would make a broader statement 04:27:41             5     like that, I take it as he did something       04:30:13
       6 than that. This is -- when you looked at        04:27:44            6     important or they wouldn't have put it in,      04:30:17
       7 the first page, this in contrast to the     04:27:44                7     but I'm not a mindreader there either.         04:30:18
       8 Perumal article which is, say, an original      04:27:47            8          VIDEOGRAPHER: There are ten minutes 04:30:57
       9 research article, this is actually now if     04:27:51              9     remaining.                          04:30:59
      10 you go to the front page a review article.      04:27:53           10 A. Should I put this away?                       04:31:37
      11 Q. Yes.                              04:27:56                      11 Q. Yes, you can.                           04:31:40
      12 A. When somebody writes a review article,           04:27:57       12          MR. BROWN: Why don't we go off                   04:32:33
      13 that's more of an analysis of what other        04:27:59           13     the record. I just want to confer with my       04:32:35
      14 people have done. I would say this entire        04:28:01          14     co-counsel and see if we have anything more.          04:32:37
      15 paper is an analysis of what other people        04:28:03          15          VIDEOGRAPHER: The time is 4:32. We 04:32:39
      16 have done.                            04:28:07                     16     are now off the record.                    04:32:41
      17        Look, ideally, and I've been an      04:28:09               17          (Break taken)                   04:32:45
      18 editor of journals as well, so ideally what 04:28:11               18          VIDEOGRAPHER: The time is 4:37. We 04:36:50
      19 you expect and hope when people write these 04:28:14               19     are now back on the record.                  04:36:57
      20 things is that they are analyzing and writing 04:28:16             20     BY MR. BROWN:                                04:36:59
      21 about what other people have done, but            04:28:20         21 Q. So, Doctor, I'm just right now, I'm looking        04:36:59
      22 trying to be, put their own thinking into it. 04:28:22             22     at the table of contents of your expert        04:37:02
      23 That's usually what a review article does,       04:28:27          23     report, and looking at --                  04:37:05
      24 so you want to maybe distinguish. So I'm           04:28:30        24          MR. BOLLINGER: It's at the very             04:37:09
      25 not disagreeing with what you're saying.         04:28:32          25     bottom.                            04:37:09
                                                               Page 262                                                                        Page 264

       1     I'm just saying the whole point of this         04:28:34        1   A. I see, okay. You guys are trying to give       04:37:10
       2     article, not just that statement, but the      04:28:36         2     me a hard time. Okay.                     04:37:13
       3     entire article is to do these kinds of        04:28:38          3   Q. And I'm looking -- you've listed seven         04:37:15
       4     things, if that's helpful.               04:28:41               4     references in part Roman numeral 11B as           04:37:18
       5   Q. Yes.                                04:28:43                   5     publications that post-date the invention      04:37:24
       6   A. This is a peer-reviewed review article,          04:28:44      6     of the '514 patent and acknowledge the          04:37:27
       7     and many times review articles are even            04:28:48     7     problems and addressed and confirm it was          04:37:30
       8     requested. I don't know if it has been here. 04:28:50           8     a novel solution. So we covered Perumal,         04:37:32
       9   Q. These authors don't report that Yang, et al, 04:29:00          9     both Perumal references and Morales, and          04:37:37
      10     solved the challenge of content unionformity 04:29:03          10     now continuing for references four through        04:37:41
      11     for cast films, correct?                  04:29:10             11     seven, are you familiar with who Nowak, et 04:37:50
      12   A. No. I think you can only read what they            04:29:11   12     al, are?                           04:38:05
      13     wrote. They decided what Yang did was               04:29:16   13   A. Do you mean -- what do you mean by that.           04:38:05
      14     important enough so that they made statements 04:29:18         14            MR. BOLLINGER: No. 4.                  04:38:06
      15     that they went on to say that they overcame 04:29:22           15   A. Do I know them personally?                   04:38:08
      16     it, so they're qualifying it. But they       04:29:25          16   Q. Yes.                               04:38:09
      17     clearly felt it was important enough to put 04:29:30           17   A. I'd have to give you the same answer on         04:38:10
      18     in this peer-reviewed article that they felt 04:29:31          18     all these people, though I should probably      04:38:13
      19     that they overcame it, so I take it at its     04:29:34        19     take -- just to be safe, why -- do you have 04:38:20
      20     face.                               04:29:38                   20     those four papers and I'll take a quick       04:38:23
      21            If they didn't think -- by the way, 04:29:42            21     look at the authors?                    04:38:25
      22     usually if you write a critical review         04:29:44        22   Q. Yes.                               04:38:26
      23     article and you felt that the person who         04:29:46      23   A. Nowak, him, herself, I don't think I know,       04:38:28
      24     said something made some errors or overstated 04:29:48         24     but there may be some, if that's what you're 04:38:30
      25     something, it would be very reasonable in a 04:29:52           25     asking when you say, et al, I feel...       04:38:33
                                                               Page 263                                                                        Page 265

                                                                                                                       67 (Pages 262 - 265)
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Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 17 of 41 PageID #: 10539

       1   Q. The questions that I will ask for each of       04:38:36                1 individuals who authored the publications        04:42:46
       2     these references are do you know the            04:38:38                 2 listed in Part 11B, one through seven, were 04:42:52
       3     individual personally and do you have an          04:38:40               3 working in the field of pharmaceutical film 04:43:00
       4     opinion as to their professional reputation? 04:38:44                    4 formulations as of 2002 and, thus, would        04:43:06
       5   A. Okay.                               04:38:46                            5 have personal knowledge of the art at that      04:43:10
       6   Q. While we're getting the process of marking        04:39:08              6 time?                             04:43:12
       7     that, for any of these, any of the authors    04:39:10                   7 A. I don't know one way or the other, but my      04:43:12
       8     that you identify in Roman numeral 11B, one 04:39:20                     8 expectation would be if they were asked to       04:43:15
       9     through eight, do you know if any of those        04:39:26               9 write these reviews or if they wrote them,     04:43:16
      10     authors had personal knowledge of the state 04:39:30                    10 there's a reasonable chance they could be, 04:43:18
      11     of the art in thin film technologies as of    04:39:38                  11 but I haven't investigated that one way or     04:43:20
      12     2001?                              04:39:41                             12 the other.                         04:43:22
      13   A. As opposed to doing reviews?                  04:39:44                 13 Q. Thank you, Doctor. I have no further         04:43:23
      14   Q. Correct.                            04:39:49                           14 questions. Thank you for your time.           04:43:25
      15   A. I'll just give you my best answers, and        04:39:52                15        MR. BOLLINGER: I'll spare you the 04:43:27
      16     the question is do I know?                 04:39:55                     16 blistering cross.                    04:43:29
      17   Q. Yes.                               04:39:56                            17        THE WITNESS: Okay. We have a               04:43:31
      18   A. So why don't I take a look.                04:40:01                    18 deal. Thank you.                       04:43:31
      19            MR. BOLLINGER: Why don't you just 04:40:11                       19        VIDEOGRAPHER: The time is 4:43.             04:43:32
      20     clip them all together.                 04:40:12                        20 This is the end of Tape No. 4 as well as the 04:43:35
      21   A. If you want, just give me...              04:40:13                     21 deposition, and we are now off the record.      04:43:37
      22            MR. BROWN: We can just mark this            04:40:22             22        (Whereupon the deposition was         04:43:39
      23     as one exhibit.                       04:40:26                          23 concluded at 4:43 p.m.)
      24            (Exhibit 14 marked for             04:40:28                      24
      25     identification.)                      04:40:31                          25
                                                                          Page 266                                                        Page 268

       1 A. Okay. So I'll just go through this one.          04:41:16                 1     I declare under penalty of perjury
       2     These are all of them?                     04:41:20                      2 under the laws that the foregoing is
       3 Q. Yes.                                 04:41:21                             3 true and correct.
       4 A. I would say that none of these people --           04:41:22               4
       5     well, George Coelho, that sounds somewhat             04:41:30           5     Executed on _________________ , 20___,
       6     familiar, but I can't say for sure, but       04:41:33                   6 at _____________, ___________________________.
       7     he sounds somewhat familiar, but I don't          04:41:37               7
       8     know the answer to what their -- I really        04:41:43                8
       9     can't speak to their reputation. I think       04:41:45                  9
      10     this is a high-impact journal, so a journal     04:41:47                10
      11     that is a well-respected journal so I think     04:41:54                11       _____________________________
      12     that's significant. It's got an impact        04:41:57                  12          DR. ROBERT LANGER
      13     factor of about seven. I don't know either       04:42:01               13
      14     of them with the same caveats I've been          04:42:04               14
      15     answering with you earlier.                 04:42:06                    15
      16 Q. Next the Goel reference?                       04:42:07                  16
      17 A. Yes -- no, no, that's the Kathpalia             04:42:09                 17
      18     reference. And the Goel reference, I don't       04:42:19               18
      19     know them personally either, as far as I         04:42:21               19
      20     know. And Nowak, I don't think I know him,             04:42:23         20
      21     though I've done some work for McDermott,              04:42:28         21
      22     Will & Emery also, but I don't think I've        04:42:31               22
      23     met him, but I could be wrong. Is that what          04:42:35           23
      24     you're looking for?                       04:42:41                      24
      25 Q. Correct. And do you know whether any of the               04:42:42       25
                                                                          Page 267                                                        Page 269

                                                                                                                        68 (Pages 266 - 269)
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Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 18 of 41 PageID #: 10540




                                Exhibit 2
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 19 of 41 PageID #: 10541




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


                                           )
   RECKITT BENCKISER
                                           )
   PHARMACEUTICALS INC., RB
                                           )
   PHARMACEUTICALS LIMITED, and
                                           )
   MONOSOL RX, LLC,
                                           )
                           Plaintiffs,     )   C.A. No. 13-1674-RGA
                                           )   (Consolidated)
   v.                                      )
                                           )
   WATSON LABORATORIES, INC.,              )
                                           )
                           Defendant.      )

                                           )
   RECKITT BENCKISER
                                           )
   PHARMACEUTICALS INC., RB
                                           )
   PHARMACEUTICALS LIMITED, and
                                           )
   MONOSOL RX, LLC,                            C.A. No. 14-0422-RGA
                                           )
                           Plaintiffs,     )
         v.                                )
                                           )
   PAR PHARMACEUTICAL, INC.,               )
   INTELGENX TECHNOLOGIES CORP.,           )
                                           )
                           Defendants.     )




                  EXPERT REPORT OF ROBERT S. LANGER, Sc.D.
                REGARDING VALIDITY OF U.S. PATENT No. 8,603,514
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 20 of 41 PageID #: 10542




              skill have ignored the prevalent teachings in the prior art that would have discouraged
              them from making the patented invention; and
             Objective indicia of at least (1) a long-felt but unmet need for a way to create oral
              films that did not suffer from the problem of active content non-uniformity, and (2)
              failure of others who tried and failed to create sufficiently uniform films to support a
              commercial pharmaceutical film product like the ones described and claimed in the
              ‘514 patent, support my conclusion that the claimed invention was not obvious at the
              time it was made.

  IV.     EVIDENCE CONSIDERED

  7.      The documents I reviewed and/or relied upon in forming my opinions expressed in this

  report are listed in Exhibit A attached to this report. I have also relied upon and applied my

  personal knowledge, skill, training, experience, and knowledge in the field. All of the materials

  and information I relied on are of a type reasonably relied on by people in my field. I reserve the

  right to supplement this report to address any additional information or discovery that may

  become available.

  V.      SUMMARY OF QUALIFICATIONS

  8.      In addition to the brief summary provided below, I have attached my most recent

  curriculum vitae as Exhibit B to this report, which summarizes my educational background,

  research and publications, honors and awards, and other credentials relevant to my qualifications

  as an expert in this case.

  9.      I have authored or co-authored over 1,300 articles and also have over 1080 issued or

  pending patents worldwide, one of which was cited as the outstanding patent in Massachusetts in

  1988 and one of 20 outstanding patents in the United States. My patents have been licensed or

  sublicensed to over 300 pharmaceutical, chemical, biotechnology and medical device companies.

  A number of these companies were launched on the basis of these patent licenses.


                                                   3
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 21 of 41 PageID #: 10543




  skill in the art (or even of more than ordinary skill) credited the inventors of the ‘514 patent as

  the first to teach a monolayer film casting process that yielded individual film dosage units with

  substantial drug content uniformity.

                 1.      V.A. Perumal et al., “Investigating a New Approach to Film Casting
                         for Enhanced Drug Content Uniformity in Polymeric Films,” Drug
                         Dev. & Indust. Pharm., 34:1036-1047 (2008) (“Perumal 2008 article,”
                         Ex. P)

  113.   The Perumal 2008 article describes the results of studies examining a new approach to

  enhancing the drug content uniformity of polymeric oral thin films that involves the use of

  individual wells to prepare films versus cutting individual film dosage units from a larger film-

  cast sheet, as was done conventionally. In the course of describing this new technique, the

  Perumal 2008 article makes the following points that are relevant to the non-obviousness of the

  Challenged Claims of the ‘514 patent:

            Lack of DCU was a known problem with drug-containing films that was not
             addressed and largely ignored in the research literature but was addressed in the
             patent literature;
            Conventional oral thin film-forming methods and processes, such as those disclosed
             in the Chen application, typically resulted in the production of films with poor DCU;
            The ‘514 patent was one of only a few patents/applications that attempted to provide
             novel solutions to address this issue even as of 2008, years after the priority date of
             the ‘514 patent.
  114.   Perumal 2008 teaches the fact that films formed via conventional casting processes were

  known to be associated with poor DCU:

         “Films prepared by conventional casting onto trays such as teflon-coated
         perspex trays (TCPTs) suffer from poor drug content uniformity. The aim of
         this study was to prepare a silicone molded tray (SMT) with individual wells for
         film casting and to evaluate it in terms of enhancing drug content uniformity.
         Films were prepared by solvent evaporation or emulsification and cast onto TCPT
         and SMT. Preparation of films by the SMT method was superior in terms of
         meeting drug content uniformity requirements. As compared with the TCPT


                                                  58
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 22 of 41 PageID #: 10544




         method, the SMT casting method also reduced the variability in mucoadhesivity,
         drug release, and film thickness. Reproducibility of the SMT method was
         demonstrated in terms of drug content, mucoadhesion, and drug release.”

  (Perumal 2008, Ex. P abstract; emphasis added.)

  115.   The Perumal 2008 article teaches that, although DCU was known to be an important

  quality attribute of oral thin films for drug delivery with respect to therapeutic efficacy and

  regulatory approvability, films produced by conventional methods typically displayed poor

  results with respect to DCU and were thus non-uniform with respect to their drug content when

  divided into individual dosing units.

          “Preliminary investigations in our laboratories using both methods of film
         preparation and casting onto teflon-coated trays as above for cutting into specified
         sizes indicated nonuniform drug distribution across the individual film units. A
         prerequisite for therapeutic efficacy, safety, and regulatory approval of a medicine
         is drug content uniformity. Failure to achieve a high degree of accuracy with
         respect to the amount of drug in individual unit doses of the film can result in
         therapeutic failure, nonreproducible effects, and, importantly, toxic effects to the
         patient.”

  (Perumal 2008, Ex. P at p. 1036.)

  116.   The process of developing drug-containing oral thin films was described to be a complex

  and multivariate process, with researchers attempting to create new oral thin film products

  attempting to optimize several attributes relevant to the therapeutic efficacy of said films, such as

  mucoadhesivity, mechanical properties and drug release. With respect to conventional film-

  forming methods, the Perumal 2008 article states that:

         “Films are conventionally prepared by the solvent-casting method in which the
         drug and polymer(s) of similar solubilities are dissolved in a single vehicle and
         cast onto trays, which are then left to dry to facilitate solvent evaporation. This
         forms a sheet of film which is cut into desired sizes to provide a specified dose of
         drug (Amnuaikit, Ikeuchi, Ogawara, Higaki, & Kimura, 2005; Dhanikula &
         Panchagnula, 2004; Perugini, Genta, Conti, Modena, & Pavanetto, 2003;
         Remunan-Lopez, Portero, Vila- Jato, & Alonso, 1998). Simultaneous
         optimization of mucoadhesivity and drug release profiles of monolayered films



                                                   59
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 23 of 41 PageID #: 10545




         may require the blending of drug and polymer(s) of opposing solubilities and
         therefore may not be simply dissolved in a single vehicle for film casting.”

  (Perumal 2008, Ex. P at p. 1036.)

  117.   Despite the importance of DCU, the Perumal 2008 article teaches that researchers in the

  field appeared to focus on the other attributes of their oral thin films besides DCU when

  reporting their studies. This led Perumal et al. to conclude that DCU was an issue with said films

  that was inadequately addressed in the research literature even as of 2008:

         “An extensive literature search with respect to drug content uniformity in
         polymeric films showed that although the literature is replete with formulation
         and several physicochemical characterization studies on films, surprisingly, the
         majority of papers did not report any assay values (Table 1). Of the very few that
         did, in three researchers had measured drug content by dissolving a known weight
         of the film for analysis (Ahmed et al., 2004; Amnuaikit, Ikeuchi, Ogawara,
         Higaki, & Kimura, 2005; Dhanikula & Panchagnula, 2004). This is not an
         accurate reflection of drug uniformity because sheets of film are cut into unit
         doses. An assay of film area rather than weight would be more appropriate for
         assessing drug content uniformity in such films. In addition, Dhanikula and
         Panchagnula (2004) only stated that uniformity results in their study indicated that
         the variation in drug distribution was <15%, but they did not report any data,
         whereas Perugini et al. (2003) reported assay values as a statement of drug
         content being more than 70%. The lack of reported data on this crucial
         characterization property of any novel drug delivery system led to the assumption
         that researchers in this field may also have been experiencing difficulty with this
         aspect of film characterization. Yet no paper to date, to the best of our knowledge,
         in the published pharmaceutical literature has highlighted this difficulty.”

  (Perumal 2008, Ex. P at pp. 1036-37.) That the authors’ “extensive literature search … with

  respect to drug content uniformity in polymeric films” turned up 23 papers concerning

  pharmaceutical films of which only 5 were published in 2001 or earlier, speaks to the limited

  understanding of drug-containing thin films like those contemplated in the ‘514 patent. And

  even in 2008, although the difficulty of maintaining DCU in such films was understood, few

  researchers focused on that problem. As I describe further below, this may at least be in part that




                                                  60
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 24 of 41 PageID #: 10546




  the development of pharmaceutical thin films was still a new endeavor in its early stages of

  development as of 2008 with no such prescription films being approved until after this date.

  118.   In contrast to the results seen in the literature (or lack thereof), the Perumal 2008 article

  teaches that the issue of DCU was discussed and addressed in several patent applications as of

  2008, with the ‘514 patent and its related applications being a key example. The Perumal 2008

  article notes that the problem of DCU in cast films and the causes for that nonuniformity in films

  produced by traditional casting and drying methods was described in detail in the U.S.

  Provisional Patent App. Ser. No. 60/443,741 (“‘741 Provisional,” Ex. I), one of the patent

  applications from which the ‘514 patent claims priority:

         “It was only a search of patent applications that confirmed the assumption that
         difficulties with achieving uniform drug distribution in films did indeed exist, as
         some patent applications that attempted to directly address the problems
         encountered with nonuniformity in films were identified. Although the
         identification of these patents confirmed the existence of this problem, it was
         intriguing that the published pharmaceutical literature omitted the reporting of
         assay values, yet revealed the undertaking of other complex characterization
         studies (Table 1) without focusing on overcoming this simple but mandatory
         prerequisite for development of any drug delivery system. In these patent
         applications, it was explained that films prepared via the conventional casting
         technique, as used in the literature, suffered from the aggregation or
         conglomeration of particles, which rendered them inherently nonuniform in
         terms of all film components, including polymers and drug. It was found that
         the formation of agglomerates randomly distributed the film components as
         well as any active present, thus leading to the poor drug content uniformity (US
         Patent No. 60/443,741, 2004). The formation of agglomerates was attributed to
         the relatively long drying times, which facilitated intermolecular attractive
         forces, convection forces, and air flow which aided in the formation of such
         conglomerates (US Patent No. 60/443,741, 2004).”

  (Perumal 2008, Ex. P at p. 1038; emphasis added.) Thus, the Perumal 2008 article cites the ‘741

  Provisional as the primary example of a patent application that addressed the issues related to

  lack of DCU for films produced via conventional methods and proposed a novel solution to this

  issue. As is also described in the ‘514 patent, as evidenced in the above quote, the Perumal 2008



                                                  61
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 25 of 41 PageID #: 10547




  article refers to the fact that the lack of drug content uniformity in conventionally produced films

  was thought to arise from the formation of aggregates due to the long drying times and other

  process features associated with conventional film casting and drying methods.

  119.    The Perumal 2008 article also discussed the prior art Schmidt patent (U.S. Patent No.

  4,849,246), which attempted to avoid these shortcomings of traditional casting methods by

  “abandon[ing] the concept that a monolayered film may provide accurate dosing and instead

  attempted to solve the problems of aggregation by forming a multilayered film.” (Perumal 2008

  article, Ex. P at p. 1038.) But the Perumal 2008 article noted that these efforts in the Schmidt

  patent “had the disadvantage[s] of requiring additional components, which translated to

  additional cost and manufacturing steps,” “employ[ing] the use of time-consuming drying

  methods such as high-temperature air-bath using a drying oven, drying tunnel, vacuum dryer, or

  other such drying equipment, all of which aided in promoting the aggregation of film

  components and active” and “subject[ing] the active to prolonged exposure to moisture and

  elevated temperatures, which might render it ineffective or even harmful ….”:

         “Some approaches that attempted to prevent agglomeration are described briefly.
         Schmidt (US Patent No. 4,849,246 in US Patent No. 60/443,741, 2004)
         abandoned the concept that a monolayered film may provide accurate dosing and
         instead attempted to solve the problem of aggregation by forming a multilayered
         film. The incorporation of additional excipients, i.e. gel formers and polyhydric
         alcohols respectively, to increase the viscosity of the film prior to drying in an
         effort to reduce aggregation of the components in the film is described (US Patent
         No. 60/443,741, 2004). These methods had the disadvantage of requiring
         additional components, which translated to additional cost and manufacturing
         steps. Furthermore, these methods employed the use of time-consuming drying
         methods such as high-temperature air-bath using a drying oven, drying tunnel,
         vacuum dryer, or other such drying equipment, all of which aided in promoting
         the aggregation of film components and active. In addition, such processes
         subjected the active to prolonged exposure to moisture and elevated temperatures,
         which might render it ineffective or even harmful (US Patent No. 60/443,741,
         2004). Also, approaches described in US Patent No. 60/443,741, 2004 for
         enhancing drug uniformity, required sophisticated drying equipment and
         additional pharmaceutical excipients, which lead to unfeasible increased


                                                  62
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 26 of 41 PageID #: 10548




          manufacturing costs and multi-step processing. Thus, a method that uses minimal
          additional excipients into the formulation, uses simple technology, and also
          provides uniform drug content throughout the film clearly needed to be
          identified.”

  (Perumal 2008, Ex. P at p. 1038-39.)

  120.    Although the Perumal 2008 article focuses on only a few of the aspects of ‘741

  Provisional (i.e., the optimization of the viscosity of the matrix in order to reduce the potential

  for aggregation and the use of alternative drying methods), a distinction is clearly drawn between

  the disclosures of the ‘741 Provisional versus patents and patent applications focusing on oral

  thin films produced utilizing conventional methods (such as the Chen Application). Claiming

  that the ‘741 Provisional application requires the use of additional excipients and complex drying

  methods, Perumal et al. allege simpler methods for producing oral thin films, such as their

  proposed method utilizing individual wells (SMT films), still needed to be identified even as of

  2008:

          “Thus, a method that uses minimal additional excipients into the formulation, uses
          simple technology, and also provides uniform drug content throughout the film
          clearly needed to be identified. Instead of considering additional excipients or
          introducing new expensive and complicated drying technologies, a specially
          designed tray with built-in predetermined wells for forming polymeric films with
          uniform drug content was proposed and evaluated in this study. It was expected
          that this simple approach, which would involve casting specified volumes of
          polymer–drug mixtures into wells, would lead to improved drug uniformity
          because the drug would be entrapped in each film unit, irrespective of the
          migration of the active within that well during drying. Such an improvement will
          not only be useful in the field of buccal drug delivery for formulation
          optimization, but it will also impact on other fields because mucosal films are
          used for a variety of other routes of administration, that is, vaginal, rectal, and
          ocular.”

  (Perumal 2008, Ex. P at p. 1038.)

  121.    The experimental results that the Perumal 2008 article reported with respect to drug

  content uniformity and drug dissolution/release for their SMT films (produced in individual



                                                  63
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 27 of 41 PageID #: 10549




  wells) versus those produced via conventional methods are particularly relevant with respect to

  the allegations made by Dr. Dyar with respect to Figure 5 from the Chen Application for at least

  two reasons. First, the Perumal 2008 article, and several of the prior studies described in this

  article, show that standard and routine methods for assessing the dissolution and drug release

  from oral thin films were known and utilized in the art over the time period from at least 2000 to

  2008 and were known to be associated with low variability. As I discuss further below with

  respect to my opinions concerning Figure 5 from Chen, these methods typically employed a

  standard USP dissolution apparatus or variant thereof combined with routine UV analysis of

  release media samples in order to quantify the amount of drug present.

  122.   Second, by comparing the results of the conventionally prepared films and those made

  using Perumal et al.’s individual well method (SMT), it is clear that the lack of drug content

  uniformity in the conventionally prepared films resulted from the formulation and preparation

  process itself, not from measurement errors or analytical variability. The authors of the Perumal

  article, with full knowledge of the teachings of the prior art, created a cast film by applying a

  coating preparation containing the active ingredient propranolol hydrochloride (PHCl) to the

  surface of a teflon-coated perspex tray (TCPT), drying the film using typical, prior-art conditions

  (“at 30°C for approximately 24 h”), and cutting it into individual dosage units. (Perumal 2008,

  Ex. P at p. 1039 (Materials and Methods) and 1040 (Preparation of Polymer-Drug

  Solutions/Emulsions for Film Casting).) The results reported in Perumal confirm that prior art

  film drying processes were inadequate to ensure active content uniformity. “This yielded films

  with uniform surface morphology but poor drug content uniformity values, i.e., 110.00 ±

  66.63%, indicating a large coefficient of variation (CV) of 60.57%.” (Perumal 2008, Ex. P at p.




                                                  64
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 28 of 41 PageID #: 10550




  1042; emphasis added.) The authors attributed the lack of drug content uniformity in these

  conventionally prepared films to drug agglomeration and migration during drying:

          “Table 2 depicts the pictures of trays used in the study for film casting and a
         summary of the assay and morphology of films generated. Homopolymeric CHT
         films were initially prepared by employing the conventional casting technique
         whereby the polymeric solution is cast onto TCPTs to form a sheet of film that is
         cut into individual film units of desired sizes. This yielded films with uniform
         surface morphology but poor drug content uniformity values, i.e., 110.00 ±
         66.63%, indicating a large coefficient of variation (CV) of 60.57%. The poor
         drug uniformity with these TCPTs was attributed to the reasons given in several
         patent applications, that is, to the formation of conglomerates and migration of
         drug throughout the tray during the drying process.”

  (Perumal 2008, Ex. P at pp. 1041-42; emphasis added.)

  123.   Based on the statements from Perumal 2008 shown in paragraph 119 above, Perumal et

  al. appear to be referring to the ‘741 Application and its related applications in the statement

  shown above, thus experimentally confirming the teachings and disclosures of the ‘741

  Application (and thus the ‘514 patent) with respect to the fact that conventionally produced films

  were prone to displaying poor DCU due to drug aggregation and migration during the film

  forming process, with the single well technique developed by Perumal et al. resulting in films

  with a significantly higher degree of DCU:

         “This modification, that is, using the SMT with inserts, resulted in films that
         satisfied the desired requirements, that is, good surface morphology and once
         again acceptable assay values of 104.84 ± 1.30% were achieved, as required by
         compendial specifications for PHCl dosage forms (92–107.5%) (British
         Pharmacopoeia, 2003).”

  (Perumal 2008, Ex. P at p. 1043.) Thus, these results indicate that the large variability seen for

  the films made via conventional methods resulted from the process used to make them, not from

  errors in the standard and routine assay method utilized to measure drug content. The Perumal

  2008 article also reported conducting reproducibility experiments that confirm the low degree of

  variability in drug content uniformity for their STM films.


                                                  65
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 29 of 41 PageID #: 10551




         “The CV for assay values for each tray was low, indicating minimal intra-tray
         variability. Also these values were all within the compendial specifications of 92–
         107.5% (British Pharmacopoeia, 2003).
         …
         The in vitro drug release profiles of films from the three trays were also
         compared, as shown in Figure 3. The profiles for films from all three trays
         appeared to be almost superimposable.”

  (Perumal 2008, Ex. P at p. 1044.) As can be seen in Figure 3 from the Perumal 2008 article, the

  error bars associated with the drug release profiles were tight, again indicating a low degree of

  variability associated with the standard and routine dissolution assay utilized by Perumal et al.

  124.   Based on all of these results, Perumal et al. concluded that (i) conventional methods of

  oral thin film formulation and manufacture were associated with a high degree of variability with

  respect to drug content uniformity that prevented them from meeting industry-accepted

  compendia standards for acceptability; and (ii) utilizing individual wells for the production of

  thin films greatly reduced this variability via locking in the drug content present in the precursor

  film matrix (and thus removing the potential for the drying process to result in agglomeration

  and drug migration):

         “Therefore, multipolymeric films with PHCl+CHT+HPMC (drug and polymers
         with similar solubilities) and films with PHCl+CHT+EUD 100 (drug and
         polymers with opposing solubilities) were prepared by using the conventional
         TCPT and the SMT with inserts for film casting. The findings for both these
         methods were compared. Table 5 indicates the assay values, whereas Table 6
         presents a composite summary of the drug release profiles of the films prepared in
         both types of trays. As is evident from Table 5 all films prepared with the SMT
         were within compendial specifications (92–107.5%) (British Pharmacopoeia,
         2003) and all CVs for assays were low, that is, less than 4%, thus indicating the
         suitability of the SMT for the preparation of both homopolymeric and
         multipolymeric films with drug and polymer(s) of similar and/or opposing
         solubilities. None of the films prepared with the TCPT were within compendial
         specifications. They exhibited very high CVs for assays, that is, as high as 60%,
         indicating the unsuitability of these trays for all types of film preparation.”

  (Perumal 2008, Ex. P at p. 1045; emphasis added.)




                                                  66
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 30 of 41 PageID #: 10552




  125.   The fact that the SMT individual well technique led to such markedly improved drug

  content uniformity supported the conclusion in the Perumal 2008 article that lack of drug content

  uniformity in the conventionally prepared films resulted from the migration and agglomeration

  of drug that occurs during the relatively long film drying process:

         “As can be seen from the drug release profiles (Table 6), the percentage drug
         released from all films prepared in the TCPT have relatively large SDs at each
         time point, whereas those prepared in the SMT with inserts have relatively small
         SDs. These results can be attributed to the migration of drug that occurs during
         the formation of aggregates during the drying process, leading to nonuniform drug
         content resulting in nonreproducible drug release profiles in the case of the TCPT.
         The small SDs and reproducible release profiles of all films prepared in the SMT
         with inserts are due to the containment of the drug within a predetermined well
         that prevents drug migration during drying and that maintains uniformity of
         content (US Patent No. 60/443,741, 2004).”

  (Perumal 2008, Ex. P at p. 1045.) Table 6 referred to in the passage above shows that the

  conventionally-produced films all displayed relatively large error bars with respect to their

  release profiles (i.e., greater than +/- 10%), whereas the SMT-inserts displayed relatively tight

  error bars (within +/- 5%). These results from Perumal 2008 indicate that the variability in drug

  content uniformity observed in these films is due to the conventional casting process itself and

  not to the standard and routine assay and dissolution methods utilized to measure drug release.

                 2.      V. A. Perumal, “Multipolymeric Monolayered Mucoadhesive Films
                         for Drug Therapy,” Master’s Thesis (2007) (“Perumal Thesis”; Ex. Q)

  126.   The Perumal Thesis also supports the results described above with respect to the Perumal

  2008 article and provides additional details that support the conclusions above with respect to the

  validity of the assay and dissolution analytical methods utilized for the characterization of oral

  thin films. For example, the Perumal Thesis also discusses the known association of poor drug

  content uniformity with conventionally-produced drug-containing oral thin films:




                                                  67
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 31 of 41 PageID #: 10553




         “It was discovered through preliminary investigations and a comprehensive
         literature search that the conventional film casting method of film preparation
         suffered from poor drug content uniformity.”

  (Perumal Thesis, Ex. Q at p. iv.)

  127.   The Perumal Thesis also discusses the influence of the long drying times associated with

  conventional methods of oral thin film production on a lack of DCU of the resultant films:

         “Although this method is cost effective and does not require the use of
         sophisticated apparatus, it has certain limitations. These limitations are due to the
         use of relatively long drying times during which the formation of agglomerates
         randomly distributes the film components and any active present as well. Since
         sheets of film are usually cut into unit doses, certain doses may therefore be
         devoid of or contain an insufficient amount of drug for the recommended
         treatment, which is ultimately harmful to the patient (US Patent No. 60/443,741,
         2004).”

  (Perumal Thesis, Ex. Q at pp. 49-50.)

  128.   Chapter 4 of the Perumal Thesis discusses the same studies that were described in

  Perumal 2008 reference described above and provides additional information concerning the

  qualification/validation of the analytical methods utilized, the results of which again in my

  opinion support the conclusion that the variability seen for the conventionally produced films

  described in Perumal 2008 was not due to analytical method variability, instead being due

  primarily to the variability in DCU observed for films produced via conventional film casting

  methods:

         “This is the standard method of film coating as described in the literature (Kohda
         et al., 1997; Remunan-Lopez et al., 1998; Okamoto et al., 2001; Perugini et al.,
         2003; Yoo et al., 2006). A pre-requisite for therapeutic efficacy, safety and
         regulatory approval of a medicine is drug content uniformity. Therefore initial
         characterization studies on MMFs encompassed assays of the films. However,
         the preliminary data indicated non-uniform drug distribution across the individual
         film units.”

  (Perumal Thesis, Ex. Q at p. 96.) The Perumal Thesis also stresses the importance of DCU

  related to the regulatory approval or pharmaceutical oral thin film candidates:


                                                  68
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 32 of 41 PageID #: 10554




         “Failure to achieve a high degree of accuracy with respect to the amount of drug
         in individual unit doses of the film can result in therapeutic failure, non-
         reproducible effects and, importantly, toxic effects on the patient. Hence, drug
         content uniformity is mandatory for regulatory approval of new medicines by
         regulatory authorities, i.e. the Medicines Control Council (MCC) (SA), Food and
         Drug Administration (FDA) (USA) and the European Medicines Agency (EMEA)
         (UK). Current requirements by various world regulatory authorities specify small
         variations only from the stated active amount in a dosage form. Generally, a +5%
         deviation from the stated active amount is allowed. For registration and
         commercialization of products by regulatory bodies and, more importantly, for
         reproducible therapeutic effects in patients, it is essential that drug uniformity
         across the individual film units be achieved.”

  (Perumal Thesis, Ex. Q at p. 96.)

  129.   Section 4.1 of the Perumal Thesis contains the same discussion that I reviewed above

  related to Perumal 2008 regarding (i) the lack of literature articles published as of 2007

  discussing pharmaceutical oral thin films and DCU and (ii) the fact that DCU is addressed in

  several patents published prior to 2007, including the discussion concerning the teachings and

  disclosures of the ’741 Application as well as the Schmidt, Zerbe and Hortsmann patents.

  130.   Section 4.2.2.3 of the Perumal Thesis entitled “Drug Quantification in Films” details the

  method development and qualification that were conducted related to the qualification of the

  assay and in vitro dissolution methods that were utilized to quantify the amounts of drugs

  initially present in the films under study as well as the amount of drug released as a function of

  time in the in vitro dissolution tests. As described on pages 107 through 117 of the Perumal

  Thesis, the method development procedures followed were: (i) a wavelength scan of the model

  drug (propranolol HCl) to determine the maximum absorbance wavelength, including a

  confirmation that the other film components (polymers) and reagents utilized did not interfere

  with the drug at this wavelength, (ii) preparation of a calibration curve to be utilized in both

  assay and dissolution studies, including an assessment of linearity (noting that, as indicated on

  pages 108 and 117, the relative standard deviations for the concentration were all less than 0.3%


                                                   69
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 33 of 41 PageID #: 10555




  and the correlation coefficient of the calibration curve was 0.999, indicative of low method

  variability and good reproducibility) and (iii) precision and accuracy methods (the results of

  which again confirmed the low degree of variability associated with the method).

  131.   Section 4.2.2.4 of the Perumal Thesis entitled “In Vitro Drug Release Method” describes

  the method development that was performed towards the identification and qualification of an in

  vitro dissolution method to assess drug release from the oral thin films understudy. Perumal first

  notes that, as of 2007 (and thus earlier), there were no official in vitro dissolution methods

  specified for the testing of such dosage forms:

         “Currently,there are no official methods for the in vitro dissolution testing for
         buccalmucoadhesive controlled release dosage forms. Therefore, researchers are
         using several different methods as describedin the literature. These
         include:rotating basket in a beaker (Ishida et al., 1981); USP rotating paddle
         method(Remunan Lopez et al., 1998; Perugini et al., 2003); shaking water bath
         (Gavender et al., 2005) and Franz diffusion cells (Rossi et al., 2003).”

  (Perumal Thesis, Ex. Q at p. 110)

  132.   As described on page 110, Perumal chose a shaking water bath dissolution method for

  film drug release analysis. The analytical methods and qualification procedures utilized by

  Perumal et al. described above constituted standard analytical methods and method development

  activities that were well known and associated with the characterization of several different types

  of oral dosage forms, including oral thin films. In my opinion, such methods based on the

  analysis of drug content via either UV absorption or HPLC-based analytical methods were

  routinely used for the analysis of such films and typically demonstrated a relatively high degree

  of accuracy and precision. As a result, as I will describe further below with respect to the Chen

  Application, I disagree with Dr. Dyar’s comments concerning the source of variability associated

  with the data shown in Figure 5 of the Chen Application to be due to method variability or

  analytical error versus being due to the variability in the DCU in the films under study by Chen.


                                                    70
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 34 of 41 PageID #: 10556




  133.    Similar conclusions are described in Section 4.4 of the Perumal Thesis as were described

  above for the Perumal 2008 article concerning the lack of DCU of conventionally-produced

  pharmaceutical oral thin films:

          “Preliminary investigations in our laboratories, as well as a comprehensive search
          of the literature and patents filed, indicated that the conventional film casting
          method onto Teflon-coated trays produced a sheet of film that suffered from poor
          drug content uniformity. The aim of this study was therefore to prepare a
          specially designed tray for film casting and to evaluate it in terms of enhancing
          drug content uniformity.”

  (Perumal Thesis, Ex. Q at p. 127.)

  134.    Thus, both the Perumal 2008 article and the Perumal Thesis support the conclusion that

  (i) DCU was a major issue with respect to the development of pharmaceutical oral thin films as

  of 2007 and earlier, (ii) this issue was poorly addressed in the literature, (iii) as indicated in

  several patents and patent applications dealing with pharmaceutical oral thin films, conventional

  film formulation and production methods resulted in films with poor DCU and (iv) the ‘741

  patent application disclosed a novel approach to addressing this issue.

                  3.      Morales et al., “Manufacture and Characterization of Mucoadhesive
                          Buccal Films,” European Journal of Pharmaceutics and
                          Biopharmaceutics, 77:187-199 (2011) (“Morales 2011”; Ex. N)

  135.    The 2011 article entitled “Manufacture and Characterization of Mucoadhesive Buccal

  Thin Films” authored by J. Morales and J. McConville (Morales 2011; Ex. N) also discusses the

  inherent issues with respect to drug content uniformity associated with oral thin films of various

  types and singles out U.S. Patent No. 7,425,292 to Yang et al. (Ex. E) as addressing this issue.

  Morales 2011 first provides an overview of the process steps associated with the production of

  conventional oral thin films and the importance of rheology with respect to these steps:

           “The film casting method is undoubtedly the most widely used manufacturing
          process for making films found in the literature. This is mainly due to the ease of
          the process and the low cost that the system setup incurs at the research laboratory


                                                     71
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 35 of 41 PageID #: 10557




         scale. The process consists of at least six steps: preparation of the casting solution;
         deaeration of the solution; transfer of the appropriate volume of solution into a
         mold; drying the casting solution; cutting the final dosage form to contain the
         desired amount of drug; and packaging. During the manufacture of films,
         particular importance is given to the rheological properties of the solution or
         suspension, air bubbles entrapped, content uniformity, and residual solvents in
         the final dosage form [65]. The rheology of the liquid to be casted will determine
         the drying rates and uniformity in terms of the active content as well as the
         physical appearance of the films.”

  (Morales 2011, Ex. N at p. 189; emphasis added.)

  136.   The Morales 2011 article (i) teaches that drug content uniformity was known to be a

  major challenge with respect to the production of oral thin films via conventional formulation

  and processing methods; (ii) teaches that prior art attempts to create drug-containing films, such

  as the Schmidt patent (U.S. Patent No. 4,849,246, Dyar Ex. 36) did not adequately solve this

  problem; and (ii) specifically cites the work of Yang et al. (the ‘292 patent from which the

  Challenged Claims of the ‘514 patent claim priority is cited in this example) as the primary

  example of research that was conducted to identify solutions to this important issue:

         “Since the early development of medicated films, content uniformity has been a
         major challenge for the pharmaceutical scientist. Schmidt proposed one of the
         earliest approaches to increase the drug uniformity of medicated films [72], by
         stating that the nonuniformity of films is inherent to their monolayered nature.
         Schmidt proposed a multistep method for the manufacture of multilayered films
         to overcome the heterogeneity of the monolayered form. However, Yang et al.
         reported that using the protocol proposed by Schmidt did not render uniform films
         [73] and went onto say that to overcome the non-uniformity of films, a
         manufacturing process for orally disintegrating films could be easily adapted for
         the manufacture of mucoadhesive buccal films. Yang et al. indicated that self-
         aggregation was one of the main reasons why films usually show poor uniformity,
         and in particular the drying process was found to be crucial in preventing
         aggregation or conglomeration of the ingredients of the film formulation [73].
         During an inherently long drying process, intermolecular attractive and
         convective forces are favored, leading to the problem of self-aggregation. In order
         to avoid non-uniformity, addition of viscous agents such as gel formers or
         polyhydric alcohols was proposed to alleviate potential self-aggregation [73].”

  (Morales 2011, Ex. N at p. 191)



                                                   72
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 36 of 41 PageID #: 10558




  137.   The Morales 2011 article also discusses the results of the work performed in the Perumal

  2008 article (which it refer to as reference [74]) with respect to the known issues related to the

  lack of drug content uniformity of conventionally produced oral thin films as of 2007:

         “Recently, one of the main challenges in the film casting process, content
         uniformity along the casting surface, has been addressed [74]. Film
         characterization in terms of mucoadhesive, mechanical, permeation, and release
         properties has been widely investigated. However, prior to 2007, few reports
         pertaining to drug content uniformity can be found [70,86,99–101,141,151,153].
         The most common approach to measure the content uniformity is the
         determination of drug by weight and not by casting area. Perumal et al. postulate
         that the determination by weight is erroneous because the final dosage form is
         determined by area instead of weight in the particular case of films. They
         demonstrate that custom-made silicone-molded trays, with individual casting
         wells for each dosage form, improved several characteristics significantly,
         including the content uniformity per casting area unit, mucoadhesive properties,
         drug release, and thickness uniformity of monopolymeric or multipolymeric films
         [74]. Even though this approach may solve the problem of uniformity per dosage
         form, it does not guarantee the uniformity along the dosage unit itself and also
         imposes limitations on scaling up possibilities.”

  (Morales 2011, Ex. N at p. 191.)

  138.   Thus, similar to the case described above with respect to Perumal 2008 and the Perumal

  Thesis, Morales 2011 also supports the conclusion that that (i) DCU was a major issue with

  respect to the development of pharmaceutical oral thin films as of 2007 and earlier, (ii)

  conventional film formulation and production methods resulted in films with poor DCU and (iii)

  the work of Yang et al. as represented by the ‘292 patent disclosed the mechanisms behind the

  lack of DCU of conventionally produced pharmaceutical oral thin films and disclosed a novel

  approach to addressing this issue.

                 4.     U.S. Patent Publication. No. US2007/0184099 to Nowak et al. (“Nowak
                        Publication”; Ex. F)

  139.   The Nowak Publication (filed February 18, 2005, claiming priority to a U.K. Patent App.

  No. 0403808.9 filed February 20, 2004, and published Aug. 9, 2007 as Pub. No.



                                                 73
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 37 of 41 PageID #: 10559




  US2007/0184099; “Nowak Publication”, Ex. F) also shows that those of ordinary skill working

  in the field after the invention of the ‘514 patent had been disclosed acknowledged that the

  problem of active ingredient aggregation in cast films was known:

         “Water-soluble films cast from aqueous solutions containing medications can
         suffer from the aggregation or conglomeration of particles. Self-aggregation of
         any active ingredient will make the film inherently non-uniform in its
         composition. If such films were to include low dosages of an active ingredient, it
         is possible that portions of the film may be substantially devoid of any e.g.
         medication.”

  (Nowak Publication, Ex. F at ¶ [0006].) The Nowak Publication also teaches the effect of long

  drying on the lack of DCU of the resultant films due to the aggregation of the active ingredient:

         “Furthermore, conventional film casting employs the use the [sic: of] time-
         consuming drying equipment such as a high-temperature air-bath, drying ovens,
         drying tunnels, vacuum driers, or other such drying equipment. The long length
         of drying time aids in promoting the aggregation of the active ingredient and/or
         other adjuvant. Such process also run the risk of exposing the active ingredient,
         i.e., a drug or vitamin or other components[,] to prolonged exposure to moisture
         and elevated temperatures, which may render it ineffective or even harmful.”

  (Nowak Publication, Ex. F at ¶ [0007].)

                 5.     Goel et al. “Orally Disintegrating Systems: Innovations in
                        Formulation and Technology”, Recent Patents on Drug Delivery &
                        Formulation, 2:258-274 (2008) (“Goel 2008”; Ex. L)

  140.   Goel 2008 is a review article summarizing the innovations made with respect to orally

  disintegrating systems as of 2008. Pages 269 through 270 of this article contains a section

  summarizing the state of the art (with a focus on the patent literature) with respect to orally

  disintegrating films. The authors first discuss the disclosures of the Fuchs, Schmidt, Hortsmann

  and Zerbe patents that were discussed above with respect to the specification of the ‘514 patent,

  then provide a discussion concerning the issues associated with conventional drying methods

  (skin formation, rippling and lack of DCU, etc.) that supports the teachings and disclosures of the

  ‘514 patent with respect to this point (Goel 2008; Ex. L at p. 269, ¶ 4). Goel then discusses the


                                                  74
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 38 of 41 PageID #: 10560




  disclosures of patent applications to Fuisz et al. (US20080075825, Ex. G) and Myers et al.

  (US20080050422, Ex. H) as examples of disclosures related to non self-aggregating orally

  disintegrating films that address the issues described above (Goel 2008; Ex. L at p. 270, ¶¶ 3-4).

                   6.       Kathpalia and Gupte “An Introdution to Fast Dissolving Oral Thin
                            Film Drug Delivery Systems: A Review”, Drug Delivery &
                            Formulation, 10:667-684 (2013) (“Kathpalia 2013”; Ex. M)

  141.    Kathpalia 2013 (Ex. M) is another review article focusing on summarizing the

  development history and state of the art with respect to fast dissolving oral thin films as of its

  publication date. Like other review articles describing the status of oral thin film development,

  Kathpalia et al. state that although oral thin films were known for several years with respect to

  oral hygiene and OTC products, pharmaceutical (i.e., prescription) oral thin films were still in the

  early stages of becoming mainstream products even as of 2013. Kathpalia et al. note that two of

  the first approved prescription oral thin films (OTFs) were both based on the MonoSol

  technology associated with the ‘514 patent, these being Zuplenz (Ondansetron) and Suboxone®

  film:

          “USFDA defines OTFs as, “a thin, flexible, non-friable polymeric film strip
          containing one or more dispersed active pharmaceutical ingredients (APIs) which
          is intended to be placed on the tongue for rapid disintegration or dissolution in the
          saliva prior to swallowing for delivery into the gastrointestinal tract” [3]. OTFs
          are coming into their own as mainstream pharmaceutical products. The first
          approved prescription OTF was Zuplenz (Ondansetron hydrochloride- 4 mg, 8
          mg) which was approved in 2010. The second approved one was Suboxone
          (Buprenorphine and Naloxone).”6

  (Kathpalia 2013, Ex. M at p. 667.) With respect to DCU, even as late as 2013, Kathapalia et al.

  also state that one of the disadvantages of OTFs is that “[d]ose uniformity is difficult to

  maintain” (Kathpalia 2013, Ex. M at p. 668.)

  6
    I understand that the FDA had approved one other prescription film before these in 2009, a fentanyl containing
  film called Onsolis made by BioDelivery Sciences International (BDSI). I understand that Suboxone® film was the
  first prescription sublingual film approved by the FDA.


                                                        75
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 39 of 41 PageID #: 10561




                 7.     Borges et al. “Oral Films: Current Status and Future Perspectives I –
                        Galenical Development and Quality Attributes, Journal of Controlled
                        Release, 206:1-19 (2015) (“Borges 2015-I”; Ex. J) and II – Intellectual
                        Property, Technologies and Market Needs, Journal of Controlled
                        Release, 206:108-121 (2015) (Borges 2015-II; Ex. K)

  142.   The two articles authored by Borges et al. from 2015 also summarize the current status of

  OTFs as well as summarize the patent landscape related to these films. Borges 2015-I teaches the

  importance of DCU with respect to the development of OTFs:

         “The individual weight of the films and the dosage uniformity must also be
         controlled during the process. It is also important to have a deep knowledge of the
         process and the product so slight adjustments may be performed during
         manufacturing if necessary.”

  (Borges 2015-I, Ex. J at p. 13.) Borges et al. also describe the evolution of OTFs from oral

  hygiene products to approved pharmaceutical thin films, and indicate that MonoSol was one of

  the pioneering companies with respect to the latter:

         “MonoSol, one of the pioneer companies in the oral film industry owns a
         protected drug delivery technology, PharmFilm®. MonoSol's film technology is
         supposed to be more stable and robust than other conventional dosage forms with
         a loading capacity up to 80 mg. The Pharmfilm® is a polymeric matrix based on
         polyethylene oxide and hydroxypropylmethyl cellulose,which normally is related
         with fast dissolution rates and rapid drug absorption [19]. However, MonoSol
         claims that this technological platform can be used for both fast dissolving system
         or buccal delivery. In fact, ondansetron hydrochloride had been successfully
         incorporated into the PharmFilm® technology as fast dissolving system and other
         drug substances such as montelukast sodium, rizatriptan, escitalopram oxalate,
         donezepil hydrochloride and epinephrine are being considered or under
         development as oral quick release formulations [20–25]. Additionally, as
         previously referred, the Pharmfilm® technology is also available as a slower
         release sublingual formulation (Suboxone® sublingual film) [25].”

  (Borges 2015-II, Ex. K at p. 109.)

  143.   Similar to the case described above for Kathapalia 2013, Borges et al. refer to the 2010

  approval of ondansetron OTF products (Setofilm and Zuplenz) based on MonoSol technologies




                                                  76
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 40 of 41 PageID #: 10562




  as originating the market with respect to prescription OTFs, with the following approval of

  Suboxone® film being hugely successful:

                 “It was only in 2010 that the first Rx oral film, the ondansetron
         Rapidfilm® (Setofilm®) and the ondansetron Pharmfilm® (Zuplenz®), received
         European and FDA approval, respectively. Labtec GmBh, APR Applied Pharma
         Research SA (APR) and MonoSol Rx LLC (MonoSol) entered in the market with
         an ondansetron oral thin film for the prevention of nausea and vomiting, staunch
         that would capture a broad share of an appellative market that generated 1.9
         billion dollars in the same year [139]. A month after Zuplenz® launch, MonoSol
         together with Reckitt Benckiser Pharmaceuticals received FDA approval for
         Suboxone® sublingual film [135,140]. This thin film, with two drug substances,
         buprenorphine and naloxone, approved for the treatment of opioid dependence in
         adults, was a huge success contributing to boost the oral films market. In 2011,
         Suboxone® thin film recorded sales of 513 million dollars and accounted for 96%
         of the oral transmucosal film market [141]. In 2012, US sales of Suboxone®
         sublingual film alone exceeded 1.5 billion dollars and continue with gradual
         growth [142]. During clinical trial the patients seemed to prefer the Suboxone®
         sublingual film rather than Suboxone® sublingual tablets, due to its fast
         dissolution and more pleasant taste profile [140]. These factors attracted other
         companies, as Alvogen Pine Brook, Actavis, Intelgenx and BioDelivery Sciences
         International (BDSI) to develop similar technologies. In fact, the first three
         companies have recently filled abbreviated new drug applications (ANDAs) for
         generic products of Suboxone® sublingual film whereas BDSI submitted a NDA
         with its own buccal film technology, the BUNAVAIL™. BDSI believes that
         BUNAVAIL™, which adheres to the inside of the cheek, has the potential to offer
         advantages over the Suboxone® sublingual film [43,142].
                 At the moment, none of these competitors' products are on the market
         since a patent infringement lawsuit against these applicants was submitted by
         Reckitt Benckiser [143]. The success of the Reckitt Benckiser's prescription thin
         film proved the viability and value of this pharmaceutical form in the Rx market.
         In the US the oral films had come into a strong prominence and the prescriptions
         confirm the preference of these pharmaceutical forms [144].”

  (Borges 2015-II, Ex. K at p. 116.)

  144.   Thus, these references published subsequent to 2002 indicate that ensuring DCU was still

  a critical issue associated with pharmaceutical oral thin films, in particular for those made via

  convention film formulation and drying processes, such as those described in the Chen patents

  and applications as I discuss further below. The Perumal 2008 and Morales 2011 references

  discussed above also indicate that the inventions of Yang et al. represented the leading attempts


                                                 77
Case 1:13-cv-01674-RGA Document 349-5 Filed 10/23/15 Page 41 of 41 PageID #: 10563




  at both understanding the mechanisms behind the lack of DCU in conventionally produced films

  as well as the disclosure of novel formulation and processing methods for the production of

  pharmaceutical oral thin films with significantly enhanced DCU. Additionally, in my opinion,

  these multiple references from independent groups of researchers acknowledged that the

  invention of the ‘514 patent was pioneering and overcame a substantial obstacle of drug content

  uniformity that had confounded others trying to develop such films prior to 2001.

         C.      Deficiencies in particular prior art references cited by Dr. Dyar

  145.   With respect to the specific prior art references that Dr. Dyar alleges make obvious the

  Challenged Claims of the ‘514 patent, it is my opinion that none of these references considered

  alone, together or in the context of the entirety of the state of the art as of October 2002 make

  obvious the Challenged Claims of the ‘514 patent. I discuss my opinions with respect to each of

  the references considered by Dr. Dyar with respect to obviousness below.

                 1.      Chen Application (WO2000/42992 – Dyar Ex. 28) and U.S. Patent No.
                         6,552,024 to Chen et al. (“’024 Patent” – Dyar Ex. 23)

  146.   The Chen Application was discussed extensively during the prosecution of the

  application from which the ‘514 patent issued before the Patent Office deemed the Challenged

  Claims valid and nonobvious. The disclosures of the ‘024 patent are substantially the same as

  those of the Chen Application, and I have focused my citations below on those from the Chen

  Application.

  147.   The Chen Application relied upon by Dr. Dyar does not directly report data regarding

  content uniformity of the active ingredient in any film the reference discloses. Nevertheless, Dr.

  Dyar suggests that the Chen Application discloses a film that meets the limitation in the

  Challenged Claims that “the uniformity subsequent to casting and drying of the matrix is

  measured by substantially equally sized individual unit doses which do not vary by more than


                                                   78
